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                              Exhibit 18
        State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                          Abbott Laboratories, Inc., et al.

             Exhibit to the Declaration of Nicholas N. Paul in Support of
 Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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   UNITED STATES DISTRICT COURT DISTRICT OF MASSACHUSETTS


In re: PHARMACEUTICAL INDUSTRY                       )
AVERAGE WHOLESALE PRICE                              )
LITIGATION                                           )   MDL No. 1456
                                                     )   Civil Action No. 01-12257-PBS
                                                     )
                                                     )   (Original Central District of California
THIS DOCUMENT RELATES TO:                            )   No. 03-CV-2238)
                                                     )
State of California, ex rel. Ven-a-Care of the       )   Hon. Patti B. Saris
Florida Keys, Inc. v. Abbott Laboratories,           )
Inc., et al.                                         )


                   Expert Report of Professor Theodore R. Marmor, PhD

  I.       Assignment

           I have been asked to offer my opinions about the following questions posed by

  plaintiffs, the State of California and Ven-A-Care, in this action:

  1.       Does the historical record of Federal and California governmental policy on
           Medicaid drug reimbursement support the proposition that the relevant
           organizations of the California government (including, but not limited to, the
           Department of Health Care Services and the Legislature) approved of or
           acquiesced in Dey’s, Mylan’s and Sandoz’s price-reporting conduct as alleged in
           California’s Amended Complaint?
  2.       Explain whether and if so, how, my experience, training, and education in the
           fields of political science and public policy enable me to apply accepted and
           reliable principles or methods in my field to answer the above question. Describe
           those accepted and reliable principles and methods.
  3.       How do the following facts and information bear on my opinions about question
           l?
           (i)     Medi-Cal’s continued use of published prices (AWPs, Direct Prices);
           (ii)    The record of Ven-A-Care's (VAC) communications with various persons
                   within the Federal Government (Congress, HHS, HCFA) and California;
           (iii)   Federal and State reports including those issued by the Office of the
                   Inspector General (OIG), the California State Controller and studies by
                   and for the California Medi-Cal program; and




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       (iv)    Federal and California (legal) investigations of drug pricing and
               reimbursement.


II.    Executive Summary of Opinions as To the Three Questions Posed


Question 1: Does the historical record of Federal and California governmental policy on
Medicaid drug reimbursement support the proposition that the relevant organizations of
the California government (including, but not limited to, the Department of Health Care
Services and the Legislature) approved of or acquiesced in Dey’s, Mylan’s and Sandoz’s
price-reporting conduct as alleged in California’s Amended Complaint?


Answer:
        In my opinion the historical record does not support the proposition that the
Federal or California governments approved of or acquiesced in the alleged conduct by
the three defendants. This proposition does not directly address whether Government
officials---at the federal or state level---were aware of claims that drug firms were
charging their customers less than the drug firms reported. Rather, the key question is
whether the price-reporting conduct (specifically the alleged fraudulent conduct of the
defendants) that is set out in the complaint was a) known in detail to the public officials
and b) approved of or acquiesced in by the State of California.
         At a later point in this report, I will address the significance of investigative
reports that provided snapshots of particular drug prices in California. My opinion here
rests on premises that are, to my knowledge, unchallenged. First, to approve of conduct
(or acquiesce in its continuation), one must know what that conduct was, with a level of
detail that depends on the nature of the policy asserted. Second, the historical record
needs to reflect an informed consideration of the conduct, followed by a formal and
(normally) public iteration of the government policy. This is all the more so when the
“policy” that is claimed to have existed conflicts with clear, consistent statutes or
regulations during the relevant time period. Even government acquiescence, if considered
the relevant standard of government conduct, requires an affirmative showing of
formality and documentation that distinguishes government acquiescence from simple
inattentiveness, lack of political will or consensus about a remedy, or even spotty
implementation of policy by careless or overworked employees.
        Finally, particularly if the historical record and written documentation of formal
policy are not unequivocally clear, one must examine collateral historical evidence to
know whether there were developments that contradict what is asserted to be the
government policy or whether there are stated policies, governing statutes or regulations
that are contrary to the asserted government policy. In addition, there is the question of
whether a mere course of conduct or absence of affirmative response to information is
sufficient to rise to the level of government policy where a claimed policy was not stated
as one would have expected it to have been.




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        Here, the officials whose record I have reviewed did not know in detail the
conduct alleged in the California complaint, at least until the law suit was filed (and
certainly the law suit contradicts any claim of acquiescence). Therefore, until that date it
would be logically impossible to have approved of or acquiesced in the conduct alleged.
The record does show various examples of reports and investigations that studied drug
pricing. Moreover, there were examples of conclusions reached about average price
differentials between invoice prices and prices reported to various compendia. But there
has been no showing of ongoing, detailed information known to the pertinent California
officials about specific drugs. Nor was there information available to California officials
to document deliberate manipulation of reported drug prices by these defendants for
commercial purposes.
         Second, I am aware of no formal statement of policy by a California or federal
official that approved of the price reporting conduct identified in the State’s complaint by
these defendants. To the contrary, the record abundantly shows that Medi-Cal, in
accordance with federal and State mandates, sought to estimate provider acquisition costs
in its drug reimbursement program.

        Further, the record provides no evidence that the defendants communicated their
pricing conduct, much less obtained governmental approval of that conduct. Instead,
they provide documentary evidence that one or another specific fact about drug spreads
was known to one or another governmental official. But it does not follow that such
knowledge established approval of the facts alleged. There is a fundamental reason for
this – one that is often overlooked. The claims in this suit are about particular firms,
particular prices, and particular spreads. On the other hand, the knowledge cited in the
depositions of California officials had almost entirely to do with findings of average
spreads by the federal Office of the Inspector General. The difference between those
average findings and the findings required to reimburse accurately for particular drugs is
an additional counter-argument to the claims of approval or acquiescence. Finally,
pharmaceutical companies, including the defendants, went to significant lengths to thwart
change as well as discovery of their pricing conduct – including a lawsuit against First
DataBank when it started reporting much lower (and more accurate) AWP’s than one of
the defendants wanted it to report.

Question 2: Explain whether and if so, how, my experience, training, and education in
the fields of political science and public policy enable me to apply accepted and reliable
principles or methods in my field to answer the above question. Describe those accepted
and reliable principles and methods.

Answer:
        This report consists of two parts: one, my historical account of drug
reimbursement policy at the federal level (both Medicaid and Medicare) and, two, the
outline of the reliable analytic methods I bring to questions of how public policies arise
and evolve over time. I have applied that analytical approach to the California
experience during the period 1994-2004. My qualifications as well as this approach are
described in detail below.



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Question 3: How do the following facts and information bear on my opinions about
Question 1?
       (i)     Medi-Cal’s continued use of published prices (AWPs, Direct Prices);
       (ii)    The record of Ven-A-Care's (VAC) communications with various persons
               within the Federal Government (Congress, HHS, HCFA) and California;
       (iii)   Federal and California reports including those issued by the Office of the
               Inspector General (OIG), The California State Controller and studies by
               and for the California Medi-Cal program; and
       (iv)    Federal and California (legal) investigations of drug pricing and
               reimbursement.
Answer:
        (i)    Medi-Cal’s continued use of published prices (AWPs, Direct Prices).
There is no factual dispute about the continuing use of average wholesale and direct
prices in California’s reimbursement of drugs over the decade this suit covers. But over
this period there is a solid record of successful efforts to constrain the costs associated
with either of the two methods. During most of the period, direct prices were typically
lower than the AWPs reported in the price compendia. To the extent that advantaged
California fiscally, there is no problem to cite. First, California applied 5% discounting
from AWP. Second, there was the 10% rebate program between 1994 and 1996, itself an
important contributor to lower net costs of Medi-Cal’s drug program. This rebate
program, however, was not directed at the conduct alleged in this complaint. Third, there
was the 1995 (effective) across-the-board reduction by fifty cents of each prescription, a
reduction that itself was reduced over time. The shift from AWP minus 5% to AWP
minus 10% in 2002 illustrates the response of California’s policy makers, with a lag, to
additional inflationary developments in the pharmaceutical industry. And, finally,
following the report of the accounting firm Myers & Stauffer, California adopted an
AWP minus 17% standard in 2004.

        These facts leave out the many discussions (and policy developments) within
California’s governmental organizations of what else could have been attempted to deal
with the rising costs of providing drug coverage to Medi-Cal’s patients. But, in line with
accepted political science understandings, a major change in a fiscally significant area of
public policy does not typically take place until three conditions are met: there is wide
agreement on the type and scale of the problem; there is a remedy available that those
who have the authority to authorize a change in policy believe is appropriate; and, finally,
that the appropriate policy option is operationally feasible. That is, the policy can be
implemented by the available organizations. So, the distinction that is important here is
between adjusting policy (by discounting) and changing policy. The former is more
common than the latter in public policy and thus helps to explain California’s pattern of
conduct described in the above paragraph.




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        (ii)   The record of Ven-A-Care’s (“VAC”) communications with various
persons within the Federal Government (Congress, HHS, HCFA) and California. This
report describes what VAC did as a “campaign” to alert federal officials as well as state
officials to what they regarded as unknown, but outrageous spreads in the prices of the
drugs listed, most importantly, by First DataBank. The story shifts to California in 1998,
when VAC presented its contentions to California officials, especially those connected
with fraud investigations. The depositions of California Health Department officials
show that VAC also checked its claims of extraordinary inflation in the drug prices
reported to California’s fiscal intermediaries. (See, e.g., Hillborn and Rosenstein
depositions).

        VAC’s contribution to the California litigation, it appears, was to persuade
officials that the magnitude of the spreads was much greater than what most investigators
had previously imagined. VAC also claimed that the practice of reporting inflated drug
prices was a deliberate effort by drug manufacturers to create economic incentives for
their customers to buy their products. In that sense, VAC’s revelations followed on OIG
investigations of price differentials. They did so by providing background information
about the motives and opportunities of various sectors of the pharmaceutical industry.
VAC also buttressed its argument with more detailed information on particular drugs,
both their reported and their actual prices. VAC filed its California lawsuit in 1998, but it
was under seal until 2003 when California’s Attorney General intervened on behalf of the
state. In that five year period, there were numerous investigations, continued efforts by
VAC to enlist California, and understandable and extensive research before California’s
legal officials agreed to join the suit. They did so initially in connection with two
defendants, Abbott and Wyeth, but later joined the suits against a much larger number of
defendants. In short, VACs efforts were a prod to legal action by other parties, an
instance of another governmental channel of action to redress what was increasingly
asserted to be fraudulent conduct. In no way do VAC’s actions challenge my opinions
that neither federal nor California officials approved or acquiesced in the price reporting
conduct of the defendants. Instead, their actions inform my understanding of how this
public policy development took place.

       (iii) Federal and California reports, including those issued by the Office of the
Inspector General (“OIG”), the California State Controller, and studies by and for the
California Medi-Cal program. These reports play three roles in my analysis. I regard the
OIG reports as problem identifiers -- but without sufficient specificity and
representativeness to offer a remedy to either the federal or state programs. In
conjunction with VAC’s efforts to expose the manipulations by various drug
manufacturers, OIG played a large role in bringing allegations of misrepresented drug
prices to the public agenda, particularly in Washington, DC. The California State
Controller played a somewhat similar problem-identifier role, but as part of the internal
California governmental disputes about how much and how fast to increase discounting
from AWP reported prices. Studies done for the California Medi-Cal program--such as
the Myers & Stauffer investigations of 2002-04--were directed at more specific questions
about how adequate and accurate the current dispensing fees and ingredient cost
reimbursements were in light of all the allegations of substantial overpayment. If the



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OIG reports suffered from using averages and limited samples of drugs, the Myers &
Stauffer study was more central to prompting legislative action. The study was in part a
result of an appellate court’s (9th Circuit) earlier refusal to permit an across the board
decrease in payments because there was no detailed research to back up the figures at
issue in that case. This was part of the background to both the 2002 and 2004 legislative
changes in California.

         More generally, none of these reports challenge my answer to question 1. Quite
the contrary, they reveal an increasing incremental understanding of the extent of the
problem of drug price inflation, and, over time, accumulation of the detail needed to
enlist California’s legal authorities to take on the problem via litigation. The California
Department of Health was the responsible program unit, just as HCFA (and then CMS,
the Center for Medicare & Medicaid Services) was the operational program administrator
for Medicare and federal oversight to Medicaid. In both cases, the program operators left
litigation – i.e.,, the decision about whether and when to escalate to that level -- to the
institutional units responsible for that channel of action: the Federal Department of
Justice and the California Attorney General and its fraud division.

       (iv)  Federal and California (legal) investigations of drug pricing and
reimbursement. This is incorporated in my answer to (iii), above.

III.   Qualifications

       4.      The attached curriculum vitae provides a detailed description of my

educational, professional and scholarly background. Here, I will highlight only those

aspects most relevant to my analysis of issues in this case.

       5.      I was educated at Harvard College and University and took my doctoral

degree in American politics and history in l966. My formal education includes a

fellowship year at Wadham College, Oxford (in philosophy, politics and economics) and

a post-doctoral fellowship at the Harvard School of Public Health in l966.

       6.      I recently retired as Professor of Public Policy, Political Science and

Management at Yale University, where I have taught since 1979. I have also been an

adjunct professor at Yale Law School, where I have taught the course on health politics,




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policy, and law since 2002. My prior academic positions were at the Universities of

Wisconsin, Minnesota, and Chicago.

       7.      My scholarship has concentrated on the study of public policy (both

domestic and comparative), emphasizing over the past two decades disputed issues in

health and health care. My book, The Politics of Medicare, has been continuously in

print since 1970, with an expanded, second edition in 2000. I was the co-author, with

Yale colleagues, of a book published in l990 on America's Misunderstood Welfare State:

Persistent Myths, Continuing Realities. Most recently, I published a set of essays entitled

Fads, Fallacies and Foolishness in Medical Care Management and Policy (2007). For

the period 1987-95, I was a fellow of the Canadian Institute for Advanced Research and,

with others, edited and contributed to a book on Why Some People Are Healthy and

Others Not (1994). Finally, my scholarly involvement in issues of health policy

was influenced by both my five years (1980-85) as the editor of the Journal of Health

Politics, Policy and Law and my role as director of Yale's post-doctoral program in health

policy and social science from l993 to 2003.

       8.      I have been a fellow of the Institute of Medicine for some time and was in

the early l980s a founding member of the National Academy of Social Insurance. I am

on the board of a number of health and public policy journals, as noted in my vita. I have

listed in that vita the cases in which I have served as an expert witness during the past

four years. These cases have involved public awareness of asbestos, disputes about the

proper scope of Canadian national health insurance, and questions about the Medicare

statute's policy toward the financing of durable medical equipment.




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       9.        I have done research on--and taught about--a wide variety of policy

issues. This has included analyses of the legislative origins of Medicare, the struggle

over what kind of outpatient drug benefit would be added to Medicare, and disputes over

why the Clinton health care reform proposal failed as reform. I have studied regulatory

struggles among government actors, physicians, hospitals, pharmaceutical industry

manufacturers and other parties involved. Quantitatively, I have been the author, co-

author or editor of eleven books and the author or co-author of over 150 articles in peer-

reviewed journals and other academic publications. In that work, I have combined the

diverse disciplinary methods of history, political science and policy analysis to address

controversial descriptions, explanations, and evaluations of public policy developments

in the welfare state area generally and in health policy more specifically. In doing so, I

have used the methods of political science in constructing accurate and adequate

descriptions of government policy-making and non-action. I have relied upon models of

political analysis that clarify what policies are, why they emerge as they do (or not), and

what implications follow from the structure of American government and politics for the

prospects of continuity and change in established program practices. I have employed

these models in my consulting to governments, corporations and not-for-profit

organizations.

       10.       I have also worked in government and in roles directly related to

governmental policymaking. This started in 1966 when I was a special assistant to

Wilbur Cohen, then Undersecretary of the U.S. Department of Health, Education and

Welfare, during the first summer of the Medicare and Medicaid programs. That

experience was important in my writing of the Medicare book previously noted. I later



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served as the principal consultant to the President's Commission on Income Maintenance

(1968-70) and a member of President Carter's Commission on an Agenda for the

1980s. Between 1982-84, I was the principal social and health policy advisor to Walter

Mondale during his presidential campaign.

       11. I have served as a consultant or advisor on health and other social welfare

issues to federal agencies, congressional committees, and state governments, and I have

testified before state legislatures and various committees of the United States Congress. I

have been consulted by pharmaceutical firms about a variety of issues. Schering Plough

hired my colleague Professor Jerry Mashaw and me to help interpret the meaning of the

Clinton health reform for its firm in 1993. With Astra Zeneca, the task in 2003 was to

explain current and anticipated public policy changes in Canada and the United States to

its governmental affairs officials and to lead a conference on the subject in June of that

year. Merck officials hired me in the mid-1990s to speak to their senior staff about the

likely shape of regulatory policy toward their industry. In addition, I have testified on

behalf of Canadian public authorities (federal and provincial) in connection with

defending the provisions of the Canada Health Act of l984. This included testimony

before both New Brunswick and Quebec courts and, in the case of the latter, subsequent

constitutional litigation in the 2005 Chaoulli case.

IV.    Compensation

       12.     For my work in preparing this report, the Crescent Group will be

compensated in the amount of $30,000 by the State of California and VAC.

V.     Principles, Methods, and their Application




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        13.      To address the questions posed at the outset of this report, I will proceed

as follows. First, I describe the methodology that I apply to answering the questions

posed. To describe and explain such policy developments over time requires selecting

among and employing appropriate analytic models. The work of Graham Allison is

fundamental here; the question to which his framework of analysis speaks is most simply

put: “How should [one] try to understand the actions of …government?” 1 Following the

methodology described below, I then offer my views about what constitutes, and best

explains, the policy history of Medicare and Medicaid generally. I will in turn, and in

more detail, address the programmatic history of drug benefit reimbursement policies and

practices. Finally, I will address some specific aspects of the Medi-Cal program and the

context in which it operated to answer question 3.

        14.      To understand the origins and evolution of government programs--like

Medicare, Medicaid or Medi-Cal--the analyst has to choose among or try to combine

differing models of analysis. As noted in the political science literature, one widely

employed approach is to treat the government of the United States (or nation, state or

large collectivity) as if policymaking were the choice of an individual selecting a course

of action among competing options according to clear purposes and evaluative

criteria. Looking at Medicare and Medicaid through that particular analytic lens prompts

this question: why did American government choose a hospital and physician insurance

program like Medicare and a federal-state welfare program like Medicaid to finance the

costs of medical care in 1965? As noted in my book on Medicare, thinking about a



1
 Allison, Graham T., Essence of Decision: Explaining the Cuban Missile Crisis, (New York: Harper
Collins, 1971). Also, Allison, Graham T. and Zelikow, Philip, Essence of Decision: Explaining the Cuban
Missile Crisis, 2nd Edition, (New York: Longman, 1999): viii.


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government as a unitary, purposeful actor is not uncommon.2 The vocabulary of clear

goals, rational calculation, and choice in governmental decision-making can transform

unwieldy complexity into manageable packages. The presumption of a rational, unitary

actor has a distinctive logic of explanation: “if a nation [or agency] performs an action of

this sort, it must have had a goal of this type.” 3

        15.      But such “simplification--like all simplifications--obscures as well as

reveals.”4 The unitary actor approach--what Allison terms Model I--does not take into

account that American government is in fact quite complex What we call American

government is, from another interpretive standpoint, a varied and loose association of

large organizations with routines, standard operating procedures and subunits that can

have quite distinctive--often competing--understandings of their purposes and practices.

        16.      The second approach--called the organizational process model--is sharply

different. This second model takes large scale government bodies and programs as the

units of analysis. The explanatory presumption is that organizations change slowly, that

“the best prediction of what will happen at (time) t+1 is (what is happening at time) t.” 5

Accordingly, predictions proceed from the structure, programs, and past behavior of the

organizations whose actions are the object of description, explanation, and evaluation. It

is obvious that this second model emphasizes both path dependency and inertia. Most

social scientists recognize “such collectivities do not behave like individuals.




2
  Marmor, Theodore, The Politics of Medicare, (New York: Aldine De Gruyter, 1970, 1973, 2000): 64-67.
3
  Essence of Decision: Explaining the Cuban Missile Crisis, 2nd Edition (1999): 5.
4
  Essence of Decision: Explaining the Cuban Missile Crisis, 2nd Edition (1999): 3.
5
  Essence of Decision: Explaining the Cuban Missile Crisis, 2nd Edition (1999): 175.


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Organizations filter information in ways persons do not. They seek means to maintain

themselves over time not characteristic of individual behavior.” 6

        17.      The explanatory implications of Model II are substantial.                           The

“conjunction of the routine behavior of many individuals in organizational settings”

explains “results in public policy” which cannot be accounted for by reference to the

activities of dispersed individual parties or a unitary actor called the government. This

second model is particularly relevant to analyses of governmental behavior in areas

where the reliable performance of organizational routines and practices is crucial. 7

        18.      Allison’s third approach--Model III-- has come to be known, somewhat

misleadingly, as bureaucratic (or more recently, governmental) politics. The question

the third model addresses is not what best describes and explains the behavior of

governmental organizations over time. Rather, its focus is why actions at any one time

emerge from bargaining episodes among individual players in positions of differential

authority, persuasiveness, and power. In such bargaining analyses, the issue is why

actors in various roles within the government produced particular actions--the policy

choices best understood as resultants. It emphasizes how these resultants emerge from

the exercise of skill, power, and advantage in contexts constrained by what various actors

regard as the rules of the game.

        19.      Each of these approaches--frameworks, models, or lenses as their

expositor Graham Allison writes--direct the analyst’s attention differently. The first

highlights the costs and benefits of particular options and presumes that what the


6
  The Politics of Medicare: 68.
7
  An example would be the central importance of regular, reliable, and computer assisted reimbursement in
both Medicaid and Medicare. State programs need to assure availability of drugs which, in turn, requires
regular payment to pharmacies for tens of thousands of drugs and millions of individual transactions.


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government selected was a purposeful decision. Equally, if and when any policy

emerges, Model I provides a rationalistic explanation of why that was so: a policy is

understood as the appropriate means to the results that followed. But, such explanations

may well be (and often are) factually inaccurate. Or, the result may have been an

unintended consequence of the policy decision, or largely accidental. Only historical

investigation can show what the policy aims and actions were, and were not. As Allison

has clearly explained,


        the shift from Model I to the Model II and Model III forms of analysis
        really involves a fundamental change in intellectual style. From the basic
        conception of happenings as choices to be explained by reference to
        objectives (on analogy with the actions of individual human beings), we
        must move to a conception of happenings as events whose determinants
        are to be investigated according to the canons that have been developed by
        modern science...Model II and Model III summarize two bundles of
        categories and assumptions, and two distinctive logical patterns that
        provide useful emphatic shorthands in which governmental action can be
        explained and predicted. 8

        20.      It is plain that the defendants’ claim in this case is illustrative of the

restrictive, often misleading Model I mode of reasoning.                 Consider the defendants’

proposition that the Federal Government and/or Medi-Cal acquiesced in the misconduct

alleged in the complaint..       Their position appears to be that, if the “Government”, writ

large, “knew” about the pricing practices of the pharmaceutical industry in general, then

its “failure” to change the AWP and related policies constituted governmental

acquiescence in such pricing practices.9

        21.      Applying the organizational process model (Model II) directly challenges

the notion of a unitary American government’s decision-making mode, as well as the


8
 Essence of Decision: Explaining the Cuban Missile Crisis (1971): 255.
9 See, e.g., Deposition of Charles Rice, Dey CEO..


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interpretation of the meaning of such supposed unitary decisions. To the contrary, Model

II accounts would proceed along the following interpretive lines:                         If the federal

government already had a standard policy of paying for drugs that was regarded as

reasonably satisfactory,10 its dispersed organizations (Health Care Financing Agency-

Center for Medicare and Medicaid Services (HCFA-CMS), the House Ways and Means

Committee, the House Commerce Committee, the Senate Finance Committee, the Office

of the Inspector General (OIG), the Government Accountability Office (GAO, et al.)

would be expected to maintain (or simply continue) that policy until and unless a large

scale change in the political environment precipitated an overhaul in policy. Equally, a

policy on which a state Medicaid program relied would be constrained by formal federal

requirements, the expectations of state legislators about controlling administrative costs,

and the calls for reliable payments to druggists that the state legislature would demand.

         22.      For the analyst employing the organizational model, then, it is not enough

to note the presence of drug reimbursement problems, allegations of fraud, evidence of

individual misdeeds, or public complaining by individual actors and agencies. This body

of evidence does not establish either what reimbursement policy in fact was or whether

the continuation of particular practices constituted acquiescence or approval. There are

large analytical gaps in the reasoning here. On the one hand, there was the government’s

limited understanding of random and hidden price disparities during the relevant period.

On the other hand, there was the drug industry’s targeting lobbying, designed to alarm the



10
   “Reasonably satisfactory” is not a self-defining expression. The requirement of maintaining regular
payments to pharmacies meant that state Medicaid and federal Medicare officials had, when available
technically, to use computerized claims processing. That, in turn, required under the estimated acquisition
cost regulation (EAC), timely submission of transaction prices. Since there was not an available,
operational alternative to using the drug industry compendia as a source of price data, the use of reported
AWP and WAC prices was the obvious recourse. Virtually every state did so.


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congress and to convince members that reductions in reimbursement would make

participation by pharmacies and physicians economically infeasible. Then there is the

general lack of awareness of the extent of manipulation through inducements, affecting

medical judgment. Finally, there is the drug industry’s puzzling conclusion that the

government’s continuing use of reported prices constituted endorsement of these

attributes of the reimbursement system.       More direct, particular evidence of formal

authoritative approval would be required, according to the organizational process model,

to establish governmental acquiescence in the type of drug price reporting conduct

alleged in this case. Nothing I have seen indicates that federal or state policymaking

organizations did so.

       23.     By contrast, the model of governmental bargaining (Model III) would

require even more detailed evidence to establish affirmative approval of the drug pricing

practices at issue in this case. Again, continuing practices that were recognized to reflect

some overestimation of costs--instead of risking reimbursement below costs--is a far cry

from endorsing the type of conduct alleged in this case. To substantiate acquiescence,

informed officials in authoritative positions would have had to have decided--in a

bargaining discussion about competing options--to change the regulatory standard and,

over time, to acknowledge such a policy position repeatedly. The historical record I have

reviewed, as will be discussed below, is not consistent with that interpretation either. In

the historical narrative section of the report, I will illustrate the use of these descriptive

and interpretive models in reviewing factual claims about the evolution of governmental

reimbursement policy.




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           24.         It is important to add to these methodological comments the following.

These models are particularly relevant to understanding the structure and functioning of

American government. American government is comparatively very complex, a system

of institutions sharing power and authority both at the national level and across state and

local boundaries. The chart below is a simplified sketch of the major institutions of

American government associated with healthcare policy.

          Politics of Medicaid and Medicare
           State Government                                    U.S. Government

                                  Office of            Office of                       Office of
                                    the                   The          US Dept.       Management
                                                                                      and Budget
 Executive                        Governor             President          of
                                                                        Justice
                                                                                                                      Executive
                                                        US Dept.
     Branch
                    State
                   Attorney     Public Health              of                                                          Branch
                   General      Commissioner           HHS(HEW)         Office of
                                                                                                  Congressional
                                                                       Inspector
                                                                                                  Budget Office
                                                                        General
                                  State                   CMS
                                 Medicaid                (HCFA)                       US           US General
                  Medicaid                                                          Congress       Accounting
                   Fraud         Agency
                                                                                                     Office
                 Control Unit
                                                                                                 US
                                                                           US
Legislative                 State                                         Senate
                                                                                               House of
                                                                                                Reps                  Legislative
                          Legislature

     Branch                                                 Senate       Senate       Ways and       Committee
                                                                                                                       Branch
                 State Leg       State Leg                Committee    Committee
                   Health                                     on                        Means       on Energy &
                                  Finance                              on Finance     Committee      Commerce
                 Committee      Committee                  Judiciary

                                                                                        Sub          Government
                                                                                      Committee     Investigations
                                                                                      on Health       Committee         Judicial
     Judicial                                                                                                            Branch
     Branch                                                                                                            Oversight
Oversight           SPECIAL INTEREST GROUP LOBBYING
                     Beneficiaries, Doctors, Pharmacists, Hospitals, Nursing Homes, Chain and Independent Retailers
                   Drug Wholesalers, Drug Manufacturers, Patient Advocacy Groups, Home Health Agencies, Taxpayers                 0



The dispersion of policymaking authority is obvious in the case both of Medicare and

Medicaid, though the institutions sharing in that complex decision making differ between

the two programs.11 The dispersal of authority in the United States makes concerted,

collective action more difficult than in a unitary state with parliamentary control, as in



11
   Note that the Social Security Administration had responsibility for Medicare until 1977 while the
HEW’s Social and Rehabilitation Services administered Medicaid from 1966 until the creation of the
Health Care Financing Administration (HCFA) in 1977. Thus, to speak about the “government” doing
anything during this time period regarding drug reimbursement understates the dispersal of administrative
authority over these programs.


                                                                               16
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most modern democracies. That much I will also try to illustrate more fully in the course

of the following historical portrait of policy evolution.

VI.        Medicare and Medicaid: Program Purposes, Policies Adopted, Explanations

           25.      To understand the evolution of reimbursement policies in these two

substantial programs of public financing of medical care requires attention to their

origins. It is crucial, for instance, to appreciate how unexpected these 1965 reforms

were in medical care financing. Formally known as Title XVIII and XIX of the Social

Security Act, the combination of Medicare's Part B and Medicaid were last-minute and

utterly surprising additions to the hospital financing plan that had been debated for some

years. The Johnson Administration had proposed in January of l965 a hospital insurance

program for the elderly (what became Part A of Medicare). Former opponents

supplemented that familiar proposal with physician insurance (Part B) and added

Medicaid as a third “layer” to what came to be called a “three layer legislative cake.”12

The financing and regulation of the two Medicare parts dominated the debates between

the innovative proposals of March 1965 and the enactment of Titles XVIII and XIX in

June of that year. The Medicare titles were entirely new; the Medicaid structure began

with an historical legacy. What did that mean for the assumptions about paying for

hospital, medical, and drug expenses?

           26.      What we now call Medicaid built upon and substantially expanded the

Kerr-Mills program of 1960, which had provided limited federal subsidies to the states to

finance health care for the poor among America's elderly. Medicaid took that model of




12
     The Politics of Medicare: 49-53, 60.


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“welfare medicine” and added coverage for the “categorically needy”: the blind, the

disabled and children from poor families. 13

         27.      The surprising enactment of Medicaid meant that its policies--reasoning

from the organizational process model--reflected consequential legacies from early

welfare programs on the one hand and what HEW officials generally assumed were

workable, accepted policies toward reimbursement on the other. Familiar organizational

ways of thinking, in other words, were central to what was proposed and acted upon.

         28.      This is crucial to note because the Medicare statute itself did not

substantially address the reimbursement of drugs at all.14 From 1965 to 2005, outpatient

drug expenses were not generally covered, though in the 1980s there was considerable

discussion of that fact.15 On the other hand, Medicaid from the outset had a broader

benefit package, including paying for drugs. Nonetheless, drug reimbursement received

little attention in the crowded period between the emergence of the three layer cake

proposal in March of 1965 and the enactment of Medicare and Medicaid in late June of

that year. Drugs were not a major feature of medical care expenditures in 1965 and

correspondingly got little attention in this unexpected Medicaid innovation.16


13
   The health status of America’s poor--especially poor children--in the mid-1960's is hard to imagine
today. Jonathan Engel’s book chronicles a number of shocking reports of the era. One on children's health
in rural Mississippi in the early 1960s found "in child after child…evidence of vitamin and mineral
deficiencies; serious, untreated skin infections and ulcerations; eye and ear diseases, also unattended bone
disease secondary to poor food intake, the prevalence of bacterial and parasitic disease...children afflicted
with chronic diarrhea...leg and arm injuries and deformities." Another in Kentucky discovered that
"children displayed skin ulcerations, tooth decay, open sores, boils, abscesses, impetigo, rat bites, and
hookworm." And a House Ways and Means Committee investigation concluded “that half of all children
in the United States under the age of fifteen had never been to a dentist.” Engel, Jonathan, Poor People’s
Medicine (Durham: Duke University Press, 2006): 49, 74-75.
14
   From May, 1967 until February, 1969 a HEW Task Force on Prescription Drugs undertook a
“comprehensive study of the problems of including the costs of prescription drugs under Medicare.” See
Task Force on Prescription Drugs: Final Report, 7 February 1969.
15
   Oberlander, Jonathan, The Political Life of Medicare (Chicago: Univ. of Chicago Press, 2003): 60.
16
   Ibid at 46. The detailed account of how Medicare’s Part B and Medicaid got added to the original
proposal of hospital insurance in 1965 is the subject of chapter five of The Politics of Medicare.


                                                     18
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         29.     Medicaid emerged where the Kerr-Mills program was thought to have

failed. In l962, when some 35 million Americans were living under the poverty

line, Kerr-Mills covered less than 150,000 of America’s elderly poor, with most of its

expenditures in only five states.17 The remaining low-income Americans--if they did

receive needed care--depended upon physician, private hospital and pharmacist charity,

or free care in public hospitals.

         30.     At its most expansive, the Kerr-Mills program financed the medical care

of less than 200,000 citizens. By 1967--only a year after enactment--Medicaid covered

over 7,000,000 Americans. Its core benefits--the costs of which quickly became a

concern--were payments to hospitals, nursing homes, and physicians. Medicaid--like

Medicare--set out to pay hospitals their “reasonable costs,” proceeding from standard

practices in the Blue Cross world of private hospital insurance. In the case of physicians,

Medicare’s legislative language called for reimbursing “usual and customary” fees.18 For

Medicaid, neither physician--nor prescription drug--reimbursement was legislatively

specified.19 Prescription drugs, an optional benefit, were in the first years of the program

a modest and largely unnoticed component of spending.

         31.     By comparison, there was considerable attention given to an acceptable

general policy toward reimbursement issues in the struggle over Medicare's

provisions. In the hospital sector, the legislation reflected a carryover from the dominant

mode of financing used by the Blue Cross plans at that time: reimbursement of what were


17
   Stevens, Rosemary, Welfare Medicine in America (New Brunswick: Transaction Publishers, 2004): 33.
18
   See The Politics of Medicare (2000): 89.
19
   Rosemary Stevens in Welfare Medicine in America at pg. 66 interprets the differing standards in the
following way: “presumably ‘reasonable cost’…would bear a direct relationship to the actual cost of
services provided… For other services provided under Medicaid, states could, however, choose their own
formulae and set their own payment schedules. These alternatives could include the long welfare tradition
of reimbursing at less than cost, in other words, expecting providers to donate out of charity.”


                                                   19
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thought to be “reasonable costs.” The understanding then was that Medicare would

democratize access to health insurance by mirroring for the elderly what was available to

a large proportion of working Americans through employer-financed hospital

insurance. The legacy was cost-based reimbursement and the legislation promised

precisely that. In the case of physician payment, there was no established government or

non-governmental model as dominant as Blue Cross in the hospital sector. Blue Shield

plans distinguished between indemnity payments for some insured and fee schedule

reimbursement for low-income families. For reasons outlined in The Politics of

Medicare20      simply     carrying      over    the     Blue     Shield     model     was      rejected

legislatively. Instead, the 1965 Congress enacted a standard of “reasonable charges” –

i.e., charges based on what was described as “usual and customary” fees.

         32.     The history of disputes about what “reasonable charges” meant in practice

is not the focus here. But one should note that this payment standard for physicians

mirrored       the   hospital      reimbursement        policy--i.e.,      paying     what     hospital

care costs generally or what physicians typically charged their insured patients. This

perspective--paying actual costs or market prices--carried over to the pharmaceutical

area, but with far less legislative and executive attention. For Medicaid, whose reform

was the most unexpected, the presumption was that the program offered financial support

to hospitals, doctors, and druggists who otherwise were asked to provide charity care,

services, and goods to poor people unable to pay (in full or at all) for their medical care

needs. To the extent Medicaid payments subsidized a set of beneficiaries with more



20
  The Politics of Medicare (2000): 89. The legislation borrowed instead from the commercial insurance
practice of the time in the reasonable charge standard, with Aetna’s plan for federal employees as the
particular source.


                                                   20
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expanded financing than they enjoyed before, the program was thought to benefit both

poor patients and their medical care providers.

         33.     It is important, however, to recall that the late 1960s context for both

Medicare and Medicaid quickly became one of intense concern about medical

inflation. A key focus of concern was the cost-based reimbursement policies with which

both programs began.

         34.     The principles of cost-based and charge-based reimbursement were not

accidental. Interest groups representing health provider groups had lobbied for such a

model. They were intent that Medicare and Medicaid would finance, not regulate, the

prices of medical care. However odd that might seem in 2008, when the federal role in

shaping the economics of medical care is so significant, no such presumption prevailed in

the 1960s. Indeed, the Pharmaceutical Manufacturers Association had argued in 1965

congressional testimony against any federal action that “would be tantamount to price

setting…and a denial of normal market mechanisms.”21

         35.     In Medicaid, a combination of higher than expected enrollment and

greater than expected expenditures per beneficiary caused severe budget pressures and

heightened political attention. Amendments to the Social Security Act in 1967 limited

program enrollment growth; it also empowered the Secretary of Health, Education, and

Welfare to use “methods and procedures to safeguard against payments in excess of

reasonable charges for drugs consistent with efficiency, economy, and quality of

care.”22 This tension between budget pressures and service aims was to be a recurrent


21
   “Statement of Austin Smith, MD, President, Pharmaceutical Manufacturers Association (PMA),” U.S.
Senate Committee on Finance, 13 May 1965, 760.
22
   “Reimbursement of Drug Cost: Medical Assistance Program,” Federal Register, 27 November 1974:
41480.


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theme in Medicaid’s and Medicare’s history. The aim of helping disadvantaged

populations gain access to care clashes with budgetary constraints on enrollment, and

payment demands by providers of care.

                 36.                 Today, Medicaid is the largest government program in most if not all

states, and one of the largest federal programs. More than fifty million citizens benefit; a

third of U.S. births and half of nursing home expenditures are paid for by

Medicaid.23 There has been a slight shift in the composition of the covered low income

population away from adults, and toward children and the disabled. (See Exhibit 1).


              EXHIBIT 1 Distribution Of Medicaid Payments By Eligibility Group, Fiscal Years 1978 And 1998




                    Bruce C. Vladeck,
                    Where The Action Really Is: Medicaid And The Disabled,
                    Health Affairs, Vol 22, Issue 1, 90-100



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                 37.                 As noted, Medicaid spending on pharmaceuticals began as modest

outlays. But, over time, drug spending increased well beyond general inflation, as the

charts below show. Drugs now constitute a very substantial portion of Medicaid

expenditures.24




23
   Iglehart, John, “The Dilemma of Medicaid” New England Journal of Medicine, 348:21 (22 May 2003),
2140-2148.
24
   With the implementation of the Medicare Modernization Act of 2003--a development after the time
period of this case--about half of such drug expenditures were shifted to the Medicare program.


                                                                                     22
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                                          Medicaid Prescription Drug Spending 1966-2003

                               $40                                                                                                            35%


                               $35                                                                                                            30%




                                                                                                                                                     % Change from Previous Year
                               $30
  Total Spending in Billions




                                                                                                                                              25%

                               $25
                                                                                                                                              20%
                               $20
                                                                                                                                              15%
                               $15

                                                                                                                                              10%
                               $10


                                $5                                                                                                            5%


                                $0                                                                                                            0%
                                19 66
                                19 67
                                19 68
                                19 69
                                19 70
                                19 71
                                19 72
                                19 73
                                19 74
                                19 75
                                19 76
                                19 77
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                                19 95
                                19 96
                                19 97
                                19 98
                                20 99
                                20 00
                                20 01
                                20 02
                                   03
                                19




                                                                          Year

                                             Total Spending in Billions      % Change from Previous Year




                                     Medicaid Drug Spending as a Percentage of Total Medicaid Spending


                               14%



                               12%



                               10%



                               8%

 %

                               6%



                               4%



                               2%



                               0%
                                 19 7
                                 19 8
                                 19 9
                                 19 0
                                 19 1
                                 19 2
                                 19 3
                                 19 4
                                 19 5
                                 19 6
                                 19 7
                                 19 8
                                 19 9
                                 19 0
                                 19 1
                                 19 2
                                 19 3
                                    84

                                 19 5
                                 19 6
                                 19 7
                                 19 8
                                 19 9
                                 19 0
                                 19 1
                                 19 2
                                 19 3
                                 19 4
                                 19 5
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                                 19 7
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                                 20 9
                                 20 0
                                 20 1
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Sources: (Drug Spending) 1966 Comptroller General Memo; 1967-1974 US House of Representatives Report; 1975-1989 HCFA Medicaid Source Book; 1990-1998 HCFA 2082
Reports; 1999-2003 MSIS Reports. (Total Spending) Medicaid Financial Management Reports; CMS -64 and predecessors




                                                                                             23
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Notably, California’s prescription drug spending tracked that of Medicaid in the relevant

time period, with relatively modest increases in the 1990s and a significant spike upwards

starting in 1999.25

        Year                Total Claim Reimbursement Amt
        1991                                                 $718,825,681.44
        1992                                                 $887,333,632.09
        1993                                               $1,032,708,543.99
        1994                                               $1,162,571,672.69
        1995                                               $1,187,845,076.83
        1996                                               $1,291,674,801.66
        1997                                               $1,441,016,956.28
        1998                                               $1,691,739,944.16
        1999                                               $2,067,241,609.21
        2000                                               $2,532,613,048.46
        2001                                               $3,085,342,064.84
        2002                                               $3,707,283,894.96
        2003                                               $4,282,713,899.20
        2004                                               $4,847,185,892.48



        38.     As the next chart demonstrates, Medicare spending increased very sharply

in the 1990’s, but more so under Part B than Part A. Part A’s drug expenditures are those

generated during a hospital stay and are not separately reimbursed by Medicare. That

means the cost of the drugs prescribed is what the hospitals negotiate separately. Part B,

by contrast, reports its budget outlays for drugs: the drug bills paid by Medicare directly

to doctors and pharmacies subject to the program’s drug reimbursement policy. It is

notable that the drug expenditures for Part A were relatively obscured during this time

period, compared to the substantial and visible increases in Part B outlays for drugs.




25 Source: Medi-Cal Pharmacy Benefits. See also
http://www.dhcs.ca.gov/dataandstats/reports/Pages/MCalDrgUtilData.aspx.


                                                 24
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                                                       Medicare Spending

        350,000
                                                                                                                    3.2% Part B Drugs %
                                                                                                                           of All Medicare
        300,000                                                                                            3.2%
                                                                                                    2.7%
                                                                                             2.3%
        250,000
                                                                                      2.0%
                                                                  1.1% 1.3% 1.6%
                                                         0.9%
        200,000                                 0.8%
                                                                                                                               Part B Drugs
  $M                                     0.7%                                                                                  Part B
                                 0.6%
        150,000         0.5%                                                                                                   Part A

        100,000


         50,000


                 0
                     2

                            3

                                    4

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                                                                                                        20

                                                                                                               20
Source: CMS Office of the Actuary




                                                  Medicare Pt. B Drug Spending

       12,000


       10,000


         8,000


  $M 6,000


         4,000


         2,000


               0
                     92

                               93

                                         94

                                                  95

                                                             96

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                                                                                                                             20

                                                                                                                                    20




Source: CMS Office of the Actuary




              39.              A separate question is whether Medicare and Medicaid expenditures have

produced good value for the money spent. Have they improved the public’s health as

well as cushioning the financial impact of sickness and injury? The data available


                                                                                           25
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suggest a positive answer. Improvements in life expectancy and reductions in infant

mortality have taken place during the life of these programs. The correlations do not

settle the case for causality, but they support the causal presumption.



                                       US Male Life Expectancy at Birth (1960-2001)

                        Medicare
                         Begins

        80


        75
Years



        70


        65


        60
         60
                   62
                        64
                             66
                                  68
                                       70
                                            72
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 Source: OECD Health Data, 2003




 Deaths/                                              U.S. Infant Mortality
1000 births
             30           Medicaid
                           Begins




             20




             10




              0
               60
                      62
                      64
                      66
                      68
                      70
                      72
                      74
                      76
                      78
                      80
                      82
                      84
                      86
                      88
                      90
                      92
                      94
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 Source: OECD Health Data, 2004




                                                                               26
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VI.    Medicaid Drug Pricing Policy and Politics

       40.     The history of Medicaid prescription drug policy and politics had, until

quite recently, received relatively little scholarly attention. Rosemary Stevens’ 1974 case

study of Medicaid, Welfare Medicine in America, mentions some conflicts over drug

policy, but makes no mention of reimbursement conflicts. Jonathan Engel’s more recent

and comprehensive program history, Poor People’s Medicine, (2006), barely touches on

the topic of prescription drugs. What was important to governmental officials--and the

pharmaceutical industry--did not play an important role in the journalistic or scholarly

commentary about Medicaid.

       41.     As a result, one has to put together a historical understanding from quite

varied sources: government agency rule making and reports, congressional hearing

transcripts, the journal articles of stakeholder groups, and scant newspaper coverage. The

implication is that the story of Medicaid’s reimbursement policy is complicated, with

different actors holding substantially different ideas about what was taking place, let

alone what was desirable. To understand what stakeholders were doing over time one

has to investigate what they said, what they claimed, what they thought they knew, what

confused them, and what options for action they in fact had.

       42.     With this approach in mind, I turn to the policy history as reflected in the

available historical record and organized through the conceptual lenses of Models II and

III.

       A.      1967-84

       43.     The States--continuing Kerr-Mills practices--were given wide discretion in

how they reimbursed drugs in their Medicaid programs during the period from 1967 to




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1974.26 The federal Department of Health, Education and Welfare (HEW), while paying

from 50 to 83% of Medicaid expenditures, delegated drug payment policy to the

states. During that period, as the data show, there were very rapid increases in drug

expenditures. Because the baseline drug expenditures were comparatively small, the total

drug outlays appeared modest by comparison with hospital and physician expenditures.

         44.      In 1975, however, the issue of drug price inflation did come onto the

policy agenda. HEW Secretary Casper Weinberger proposed federal regulations that

prompted an outcry from the pharmaceutical industry. His initial proposal was to limit

reimbursement for prescription drugs to their actual acquisition cost (AAC), plus a

dispensing fee.27 For generic (multi-source) drugs, the Secretary suggested a Maximum

Allowable Cost (MAC) basis for reimbursement.                      Both of these proposals proved

controversial.

         45.      First, commentators argued that governments did not have the technical

capacity to determine actual acquisition costs on a timely and accurate basis. Secretary

Weinberger, accepting this constraint and opposed to government price-setting on the

model of most other developed nations, substituted estimated acquisition cost (EAC) for

AAC. 28 This decision is unusual in comparative terms. Most industrial democracies




26
   It took over two years for any federal regulations to be developed in this area. HEW used an interim
policy for drug reimbursement of “actual acquisition cost” (“Reasonable Charges: Notice of Interim
Policies and Requirements,” Federal Register, 16 July 1968: 10233-4), but after a comment period settled
upon a policy of “cost as defined by a state agency plus a dispensing fee.” (“Final Rule: Administration of
Medical Assistance Programs: Reasonable Charges,” Federal Register, 25 January 1969: 1243-1245).
27
   “Maximum Allowable Cost (MAC) for Drugs, Notice of Proposed Rulemaking,” Federal Register, 15
November 1974 and 27 November 1974.
28
   “Final Rule - Limitations on Payment or Reimbursement for Drugs,” Federal Register, 31 July 1975 and
15 August 1975. A vital aspect of Weinberger’s alternative was an attempt to increase the capacity of states
to acquire accurate data on market prices so close estimations of AAC could be derived.


                                                    28
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engage in bargaining with the pharmaceutical industry about what they are willing to pay

for drugs rather than relying on market prices reported by the industry. 29

         46.      Weinberger maintained the original MAC provisions30 despite opposition

from the drug industry. (The final manifestation of that opposition came in the form of a

lawsuit, which the plaintiffs lost.31)             This began the complicated history of the

government estimating what it cost pharmacies to buy drugs.

         47.      The HEW standard for payment of drugs was to be the lowest of three

options: MAC plus a dispensing fee, the EAC plus a dispensing fee, or a pharmacy’s

usual and customary charge (UCC). This federal policy was not formally amended until

1987. As a result, federal policy during the period 1975 to l987 sought to reimburse

drugs on the basis of the pharmacy’s (or chain’s) cost of acquiring drugs, plus a separate

dispensing fee.32



29
   Jacobzone, Stephane, “Pharmaceutical Policies in OECD Countries,” Four Country Conference:
Pharmaceutical Policies in the US, Canada, Germany and The Netherlands, July 2000.
30
   A Pharmaceutical Reimbursement Board was created within HCFA to identify the multiple source drugs
for which significant federal funds were spent and then to develop a MAC for each. The Board set the
MAC at the “lowest unit price” at which the drug was generally available. In 1987, this was changed to
“150% of the published price for the least costly therapeutic equivalent.”
31
   “Pharmaceutical Industry Sues HEW on Government Drug Price-Setting Program,” PMA Newsletter, 27
October 1975: 3.
32
   These dispensing fees had some obvious justification. When filling prescriptions, pharmacy businesses
incur costs beyond the price of the drug itself. These include expenses such as pharmacist and other
employee wages, utilities, rent and overhead. Dispensing fees are paid when pharmacists are reimbursed on
an EAC or MAC basis. It has not applied to funding drug costs on a UCC basis, where the cost of
dispensing is built into the charge to the paying customer. From the perspective of academic policy
analysis, however, there is no single, accepted, correct way to compute actual dispensing costs. There are
contested questions that attend this task: the allocation of overhead, for example, how to deal with negative
and positive externalities, and the computation of an enterprise’s average as opposed to marginal costs.
This means that there is an irreducible uncertainty about what counts as the right dispensing fee. On the
other hand, what pharmacists are willing to accept from other payers--rather than declining the business--is
one basis for calculating an appropriate level of payment.
          The Medicaid program has never agreed to finance excess reimbursement for ingredient costs in
order to make up for any shortfall in dispensing fees. The documentary record shows clearly that separate
provisions were designed and implemented for each type of expense reimbursement. Both components
were to be reimbursed independently of one another.
          The policy for Medicare has been analogous. Significant efforts have been made to reimburse
providers for their cost of administration for “incident to” drugs. No “cross-subsidy” policy ever existed.


                                                     29
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         48.      The processes by which the overall payment policy emerged made clear

what was not done. Weinberger noted the “number of comments [contending] that the

policy amounted to ‘price-fixing’ or interfered with ‘free enterprise.’ ” He made plain his

support for using market prices rather than governmental market power to set prices at

which HEW would reimburse pharmacies. He “disagreed” with the claim that HEW was

setting prices.     The regulation, Weinberger asserted, “does not control marketplace

activity, but rather takes advantage of the varying drug prices which are established by

and exist within the marketplace…upper limits …will continue to be determined by

marketplace activities.”33

         49.      The decision to refrain from any sort of government “price setting,” was

important. Relying instead on what were claimed to be market prices in setting

governmental reimbursement produced serious problems. States had but two major

sources of information for estimating drug prices: the data provided by HEW and the

annual Red and Blue Book “compendia.” The HEW relied upon drug price information

from the presumed market leader, IMS Health. IMS data, it turned out, overstated actual

drug acquisition costs. By 1984, the Office of the Inspector General (OIG) recommended

against using their pricing data. The 1984 report also suggested that the prices reported

in the Red and Blue Book compendia were, for the drugs studied, in excess of actual

acquisition prices.34


33
   “Final Rule - Limitations on Payment or Reimbursement for Drugs,” Federal Register, 31 July 1975:
32289.
34
   “Title XIX of the Social Security Act, Limitation on Payment or Reimbursement for Drugs,” HHS OIG
Report, 1 September 1984. I am aware of the historical disputes about how the expression AWP was
employed. It was part of the rhetorical record, with different actors claiming to have a unique
understanding of the practice--as opposed to the dictionary definition of the words, or plain, ordinary
meaning. The historical record does not show evidence of any government statute, regulation, or official
pronouncement stipulating a distinctive--i.e. different from the dictionary-- meaning of “average wholesale
price.”


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         B.       1984-90

         50.      The 1984 OIG report touched off political debate among those attentive to

pharmaceutical issues and generated considerable confusion. The consequent dispute--

and the confusion generated--undercut the OIG’s weight and authority. Interest groups,

especially retailers, barraged Congress with studies and testimony. They reiterated the

same theme.        Discounts from AWP prices might be available to some, the trade

association contended, but not all, retailers. Critics also challenged the methods the OIG

study used, including doubts about the generality of their findings. Some federal

legislators defended AWP reimbursement itself, which made changes in formal policy

more difficult. In 1985, the National Association of Retail Druggists President claimed

publicly a lobbying victory for continuation of the AWP basis for reimbursement.35 One

phase of the political bargaining story was over. An effort to change the AWP standard

was defeated – and with the explicit support of pharmacy and drug manufacturing trade

associations.




          There has been considerable attention to the margins wholesalers charged over time. E. Berndt, for
example, observes that as the drug wholesale industry consolidated over time, margins that once
approximated 20 or 25% fell to 3 or 4%. (See “Report of Independent Expert Professor Ernst Berndt to
Judge Patti B. Saris,” United States District Court District of Massachusetts, 9 February 2005). This report
of industry practices does not, however, settle who knew what, when and where about those practices. This
is especially noteworthy in a context where pricing data was treated as confidential. In the historical record,
I found little, if any, recognition by HCFA or CMS officials of the changes in wholesaler margins.
          Manufacturers continued to report and pricing compendia continued to publish a historical markup
that no longer existed. I cannot conclude whether this was “understandable…and not the result of any
sinister or nefarious conspiracies” – as concluded by Berndt. But, one thing is clear: the customers of the
manufacturers and wholesalers reaped the benefit of the practice, while Medicare and Medicaid bore the
cost. (There was indeed some evidence of industry collaboration on pricing matters during the period. See
“Ruling in Price-Fixing Case Provides a Look at Drug Industry,” New York Times, 14 April 1996).
35
    The NARD President called attention to the group effort to block legislative change: “Just as a coalition
approach worked wonders in foiling the fed’s attempt to eliminate AWP as a basis for Medicaid
reimbursement,” he warned, “unfair pricing will also require a coalition…NARD has talked with the
National Association of Chain Drug Stores, the PMA, and the National Wholesale Druggists’
Association. They are all ‘supportive’ of the idea in l985.” (“NARD leaders reveal alliance against
differential pricing,” Drug Topics, 18 November 1985: 68-69).


                                                      31
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         51.     At the same time, drug inflation continued undiminished. In the Congress

there was optimism among some legislators that the availability of generic drugs would

dampen inflation in this industry. In 1984, legislation--the Drug Price Competition and

Patent Restoration Act--promised faster access to cheaper drugs.36 The MAC program

had been very disappointing, producing only twelve approved generic drugs in a

decade.    The new law on generics, many hoped, would generate savings for

Medicaid. This was one policy development; there were others as well.37

         52.     To achieve savings required Medicaid to approve payment for generic

drugs at a faster pace than before. Policy changes were required. And in 1986, ten years

after the implementation of the Weinberger regulations, there was indeed a new set of

proposals for reimbursing drugs under Medicaid. The Secretary of the Department of

Health and Human Services (HHS) offered three reform options.38 Each encouraged

greater use of generic drugs to reduce Medicaid’s program expenditures. All suggested

streamlining the process of qualifying generic drugs for program reimbursement. One

option, the Pharmacist Incentive Program, called for financial incentives to pharmacists

to substitute generic for brand drugs. A second, the Competitive Incentive Program,

would have required pharmacists to give Medicaid price discounts from actual retail

prices. But it would have allowed pharmacists to make--or lose--money from brand and

generic drug sales.




36
   “Law Enacted to Spur Generic Drug Market,” New York Times, 25 September 1984: Sec B5.
37
   Another development, to be discussed later, was what came to be called the whistleblower statute of
1986 and related programs to address alleged waste and fraud in governmental payments for goods and
services.
38
   “Proposed Rule: Medicare and Medicaid Programs; Limits on Payments for Drugs,” Federal Register, 19
August 1986 and 18 September 1986.


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         53.      In the end, however, HHS officials did not go ahead with any of these

options. Intense objections by state governments, pharmacists, and drug manufacturers

played a role.39 The result was that certain problems were once again highlighted, but

overall drug reimbursement policy was not substantially changed.40

         54.      In the end, the HHS Secretary ended the MAC program and created an

upper limit (FUL) on federal payments for two classes: multi-source and other drugs.41

For multi-source drugs, reimbursement was 150% of the lowest published price of the

least expensive generic supplier. For single-source--called “other”--drugs, the final rule

emphasized that “[T]he upper limit for other drugs…retains the EAC limits as the upper

limit standard that state agencies must meet.” But the rule was to be applied “on an

aggregate rather than on a prescription specific basis.” 42 The standard for payment of

drugs remained the lowest of three options: MAC (now called the FUL) plus a

dispensing fee, the EAC plus a dispensing fee, or a pharmacy’s usual and customary

charge (UCC). But other changes were forthcoming.




39
   “Final Rule: Medicare and Medicaid Programs; Limits on Payments for Drugs”, Federal Register, 31
July 1987: 28650.
40
   It should be noted that there were changes in the process of generic drug approval for Medicaid
reimbursement. My point here is that the fundamental basis of reimbursement was reviewed, but not
authoritatively altered. In addition, I found no evidence of a changed policy towards cross-subsidizing
pharmacists. In short, the claim that in the 1980s the federal government’s Medicaid officials accepted that
pharmacists should be cross-subsidized by inflating acquisition costs is without empirical
foundation. Indeed, HHS rejected proposals to have pharmacists increase revenues from sources other than
the dispensing fees. This does not deny that pharmacy interests regularly promoted increased revenue,
wherever it could be found. That is expected from interest groups in American politics.
41
   “Final Rule: Medicare and Medicaid Programs; Limits on Payments for Drugs,” Federal Register, 31
July 1987: 28650-53.
42
   Ibid at 28653. Some have suggested the “in the aggregate” language in this regulation changed the
policy to one in which the sum of ingredient cost and dispensing cost would be considered as the standard
for payment. By this reasoning, it was legitimate to pay higher than estimated ingredient costs if lower
than cost payments were made for dispensing fees. I have seen no evidence that such a policy was ever
implemented or that such criteria were used for evaluation. In fact, after 1987, the OIG and GAO
continued to judge program performance by looking at the gap between estimated and actual ingredient
acquisition costs, not any gap between the sums of the two components.


                                                    33
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         55.     By 1989, HCFA had addressed some problems with AWP reimbursement.

Federal policy, for instance, had rejected undiscounted AWP as a basis for estimating the

acquisition costs of drugs for Medicaid. Federal officials made this explicit in a number

of ways, including instructions by regional administrators to state Medicaid officials. A

handful of states responded by moving to a wholesale acquisition cost (WAC) “plus”

basis. Most states--despite their inability to determine actual market prices--chose to

discount from reported AWPs. They did so at varying levels and in varying ways, but

always subject to the fear of losing federal matching funds. HCFA approved most of

these altered state plans, with some disputed practices ending up in the courts.43

         56.     Continued inflation in drug prices meant difficult choices for states. Some

states tried quite different strategies to constrain drug inflation. All were of limited

success, as prior charts have illustrated. Given budget pressures and constitutional limits

on deficit financing, the continuing medical inflation meant that states had to restrict

Medicaid eligibility, reduce the number of prescriptions, and/or increase patient cost

sharing for drugs.

         57.     There was, in short, no absence of governmental efforts to cope with drug

inflation. A number of states, as noted, explored different strategies for coping with drug

inflation in the late 1980s. Some, for example, tried using formularies for certain classes

of drugs, taking their cues from pharmacy benefit managers.44 That instrument, then and

now, is regarded by many observers as the most powerful cost control tool against drug

inflation. As noted in a 1989 NY Times article, “The State and private health plans



43
   An exception was when a state tried to use undiscounted AWP as the method of estimating drug
ingredient acquisition cost.
44
   Freudenheim, Milt, “Cutting the Cost of Medicaid Drugs,” New York Times, 30 Jan. 1990.


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[threatened] to drop some products from their lists of drugs approved for

reimbursement.”45

         58.     Another strategy was to use competitive bidding. Ultimately, thirty-seven

states tried putting drug contracts out for competitive bid. But almost all had their

negotiating efforts “blocked” by drug companies unwilling to provide bids.46 One state,

Kansas, eventually succeeded in obtaining a 30% price reduction but for only one drug.

This outcome illustrates a continuing feature of the policy struggle over drug

reimbursement. The drug industry on the one hand resisted any type of governmental

price-setting for drugs.       This in turn contributed to steady inflation in Medicaid

pharmaceutical expenditures. On the other hand, the drug industry employed political,

legal and economic strategies continuously to thwart efforts to address that inflation with

different policies. This combination of defense and offense against stronger alternatives

is a major, underlying theme of this report. This strategy was repeated even more

vigorously in the 1990s.         At no time, however, did the industry fully inform the

government of its real prices for reimbursement purposes. Nor did it make clear through

lobbying that it was promoting a system in which reported prices had no relationship to

actual prices and generated questionable influence on medical judgment.

         C.      1990-2001: Following three developmental channels

         59.     The explanation for the rapid increase of Medicaid’s and Medicare’s drug

expenditures in the 1990s requires attention to developments that were at the time largely

shrouded in secrecy, misrepresentation and contested investigative claims of wrongdoing.


45
   Freudenheim, Milt, “Price Revolt Spreading on Prescription Drugs,” New York Times, 14 November
1989.
46
   “Skyrocketing Prescription Drug Prices,” US Congressional Hearings and Majority Staff Report, 16
November 1989 and 1 January 1990.


                                                  35
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         60.      To make sense of this involves separate discussion of three streams of

political and organizational activity. The first is the working out of the OBRA legislative

bargain, a channel of action marked by a four year moratorium on reduction of Medicaid

drug payment levels, a partial implementation of what I will term budgetary relief

through rebates, and heightened attention by the HHS Inspector General’s office over the

decade to a variety of state experiences in reimbursing selected drugs.

         61.      The second channel differs substantially in origins and mode of activity.

The elimination of “waste, fraud, and abuse”47 had by the 1990’s become a preoccupation

in federal health programs. (See appendix one for a chronology of government anti-fraud

laws relevant to this channel). The False Claims Act Amendment of 1986 increased the

financial incentives for what are called “whistle blowers” to report alleged misconduct

among firms whose products and services receive governmental funds.                                     This

development drew upon a different congressional source of authority (the Judiciary

committees, not the Budget committees). Equally important, the Department of Justice

(DOJ) and State Attorneys General became more important actors. That meant federal

courts would be involved, but also state courts. And, even before DOJ’s involvement,

there were other developments in the legal arena: namely, federal statutes against

kickbacks and provider self-referrals.              This legalization of concern about provider

misconduct expanded the channels through which public action took place. The rules of

the legal world had important implications for how evidence would be uncovered



47
  Marmor, T. and Mashaw, J., “Conceptualizing, Estimating and Reforming Fraud, Waste and Abuse in
Health Care Spending,” Yale Journal on Regulation, 11 (1994) 1-35. It is revealing that after a serious
review of the literature in 1993-94, the authors (including this expert) did not identify pricing fraud as a
major area of fiscal concern or legal interest. Since the article was directed at what was known at the time,
this bears on the degree to which it was known the actual pricing behavior deviated from what was
reported.


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(slowly), what evidence would be permissible to introduce, and what counted as the

definition of impermissible conduct. The role of a whistleblower--Ven-A-Care (VAC)--

in promoting attention about drug reimbursement practices to congressional, DOJ, HHS,

and state agencies is important in its own right. It also is a link to Medicare and

Medicaid’s place in drug reimbursement disputes in the 1990s.

       62.    The third channel, the involvement of Medicare in disputes about drug

reimbursement, is complicated, both connected to Medicaid developments and separate

as well. For most of Medicare’s history, drug reimbursement was not, as noted, a major

concern. Indeed, prior to 2005, outpatient prescription drugs were, in the main, not

insured for Medicare beneficiaries. (Drugs delivered in the hospital or skilled nursing

home (SNF) setting were insured through Medicare Part A, but not separately budgeted,

as explained earlier). The only directly budgeted drug reimbursement was for services

provided “incident to” physician care under Part B. By 1992, such payments totaled over

$600 million. But that sum constituted only one half of one percent of all Medicare

expenditures, and about 1/10th of what Medicaid spent on drugs.

       63.    The way by which Medicare slowly addressed drug reimbursement had

much to do with its relatively small role in the program’s budget--and, accordingly, the

greater attention to claims of fraud in the larger items of that budget: hospital and

physician reimbursement. A combination of medical inflation, fiscal pressures caused by

the budget deficits of the 1980s, and the recession of the early 1990s led some

policymakers to focus on the Medicare program as well. And, by later in the 1990s,

Medicare was to play a more prominent role in these disputes.

       i.     OBRA 90: Saving Money by Paying “Best Prices” for Medicaid
              Drugs?



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         64.     By 1990, Medicaid’s payments for drugs were under public attack. The

U.S. economy neared recession. Congressional hearings, led by Senator David Pryor (D,

AR), drew press attention both to the fiscal impact of annual drug inflation and to the

unwillingness of drug firms to cooperate with competitive bidding in Medicaid. He

“introduced legislation…to help states control spiraling drug costs by negotiating prices

with manufacturers.”48 The Bush Administration of 1990--prompted both by this

legislative proposal and difficult fiscal circumstances--developed an alternative reform

model. Their proposal--a so-called “best price” rebate plan--was based on a program the

Merck Company had developed. The Merck model sought first and foremost to block a

state formulary option and government price controls on drugs. On the other hand, it

implied that rebates could reduce Medicaid’s net drug expenditures while leaving in place

the market price, EAC reimbursement system. In short, the plan offered a tradeoff:

protection of firms from the economic restraints of government formularies in exchange

for budget relief through rebates.49

         65.     In the end congressional negotiations produced a complex legislative

result. The Omnibus Budget Reconciliation Act of 1990 (OBRA 90) was the formal


48
   In 1989, the members of the Senate Special Committee on Aging heard testimony by Gerald
Mossinghoff, President of the Pharmaceutical Manufacturers’ Association, indicating that “average
wholesale price is not determined by our companies. It’s determined in part by surveys done of our
companies.” (“Skyrocketing Prescription Drug Prices,” Hearings before the Special Committee on Aging,
U.S. Senate, 18 July 1989: 157). Members of Congress did not hear from PMA that AWPs would be raised
to create the spreads designed to foster competitive advantage. There is irony in this omission. On the one
hand, there is the longstanding PMA position against government “price-setting” and in favor of
competition, which in theory would hold prices down. On the other hand is the reality that the competitive
strategies employed by some PMA members over time to gain market share led to the increasing prices
borne by public payers.
49
   For evidence of the extent to which the Merck program and eventual OBRA 1990 deal were seen as a
trade of rebates for open formularies, see “Merck is Offering to Cut Drug Costs of Medicaid Uses,” New
York Times, 21 April 1990; “PMA Board Approves Medicaid Rebate Plan”, PMA Newsletter, 1 October,
1990 and “Medicaid Best-Price Drug Plan Written into Budget Summit Agreement”, PMA Newsletter, 8
October, 1990.


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legislative product, of which the drug payment policy changes were but one part. OBRA

90 was essentially a bargain: side payments (rebates) by manufacturers to state and

federal governments on all drugs if states give up the use of formularies as cost control

instruments.     Rebates were--and are--proportional payments paid on the basis of a

reported “best price” or average manufacturing price (AMP). AMP and “best price” were

to be confidential prices reported by drug companies only to the HCFA/CMS Office with

responsibility for administration of rebates.50 State governments did not have access to

these prices.51 In short, whether drug firms reported AWP or WAC accurately did not

make any fiscal difference to what was owed in rebates. This understanding of rebates

illustrated the degree to which the OBRA legislation was about high drug prices and

governmental budgetary relief52 rather than the price reporting practices of drug firms or

reform of drug reimbursement policy.

         66.      The impact of this bargain, however, differed substantially from what

reformers expected. Some firms in the industry quickly raised their “best prices.”53 Drug

firms invented new product forms to get around OBRA prohibitions against inflation in

established products.54 The scale of this policy failure to contain drug inflation is


50
   OBRA 90 defined the original rebate formulas. For single source and innovator-generic drugs, the rebate
is the greater of 15.1 percent of the AMP or the full difference between the AMP and best price available in
the market place. Rebates for generic drugs were initially a flat 10 percent of the AMP, and increased to 11
percent after 1993.
51
   Manufacturers are supposed to pay states a Unit Rebate Amount (URA) for each of their drugs based on
the application of the appropriate formula.
52
   Pear, Robert, “The Struggle in Congress; Most in US Will Feel Effect of Shift in Spending Priorities,”
New York Times, 28 October 1990.
53
   Consider a NY Times report: “But a lobbyist for the drug industry, who would speak only on the
condition of anonymity, said ‘We are surprised that Senator Pryor is surprised. I don’t know what else he
would have expected. It’s logical that companies would re-examine their prices if Congress passes a law
saying that Medicaid, which accounts for 10 percent of our revenues, must get the best price given to any
pharmaceutical customer in the country.’” (Pear, Robert, “Medicaid is Denied Discounted Drugs Despite a
New Law,” New York Times 18 February 1991).
54
   Scott-Morton, Fiona, Duggan, Mark, The Effect of Medicaid Regulations on Drug Product Introductions
and Pharmaceutical Prices, 5 April 2004, at pg. 2 (Introduction) & pg. 2 (Conclusions).


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noteworthy. In the decade from 1990 to 2000, Medicaid drug spending jumped from $5

to $20 billion, and increased almost threefold on an inflation-adjusted per beneficiary

basis. One effect of the high rate of drug inflation was a sharp increase in the number of

reports in the late 1990’s by the Office of the Inspector General in HHS. This is outlined

in appendix 3.55


                             Medicaid Drug Benefit Cost Per Beneficiary in Real Terms

         900

                                                                                                                                                  2003
         800                                                                                                                                      =$776

         700



         600



         500

     $
         400
                                                                                               1990
         300                                                                                   =$271
                                      1975
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 Sources: Yearly data - 1966 Comptroller General Memo; 1967-1974 US House of Representatives Report; 1975-1989 HCFA Medicaid Source Book; 1990-1998 HCFA 2082
 Reports; 1999-2003 MSIS Reports; Data converted from nominal to real 2003 dollars using the bureau of labor statistics conversion calculator.




               ii.              The False Claims Story: How a Whistleblower Campaign Contributed
                                to Congressional Demands for Policy Change in Drug Reimbursement

               67.              In the 1990s, the officials of a home infusion provider, VAC, conducted a

campaign to reveal what they regarded as fraudulent conduct in price reporting by

manufacturers for use by Medicare and Medicaid.56 VAC--assisted by lawyers operating


55
   The OIG reports over this period focused on the gap between estimated and actual drug acquisition costs.
Eleven OIG reports in 1996-97 focused on Medicaid’s drug payment experience in a sample of states. Two
others in 1997 and 2001 focused on similar issues in Medicare outpatient drug reimbursement.
56
   VAC was a home infusion provider in Florida that brought a qui tam suit against National Medical Care
(NMC) in the early 1990s. Their principal officers alleged violations under the Stark anti-fraud statute.


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under the provisions of the False Claims Act--reported their understanding of the

marketing practices and actual drug prices of certain drug manufacturers to a wide variety

of federal and state officials.         They made extended presentations to state attorneys

general, officials at HCFA, the HHS OIG, state Medicaid Fraud Control Units, the US

DOJ and Congressional investigators. (See Appendix 2 for a chronology of their efforts.)

They emphasized the creation and marketing by some drug firms of very large spreads

between acquisition costs and published prices for Medicare and Medicaid drugs.

        68.      VAC’s presentations would become a major stimulus to congressional

scrutiny of the pharmaceutical industry’s pricing practices. Without their participation,

the course of drug reimbursement policy might well have been very different. The

campaign had these highlights. Between the initial allegations in the early 1990s and the

more public testimony in 2001, VAC officials and their lawyers made a large number of

presentations, adjusting length and focus to make their claims more understandable and

to prompt, through revelations of what they regarded as blameworthy, changes in drug

company reporting practices and marketing behavior.                   Over that decade, they were

largely successful in transforming governmental understanding from what had been

disputes about the extent of the gap between reported and actual acquisition prices into

comprehension of outrageous and deliberate misrepresentation of drug transaction prices

to Medicaid and Medicare and its fiscal intermediaries.

        69.      A revealing illustration of their influence was the conversion of leading

congressional actors to their point of view.               The Commerce Committee began its



Eight years later, in 2000, NMC (by then a unit of Fresenius) settled with the United States for $486M. At
that time, the settlement was “the largest case of its kind.” (Steinhauer, Jennifer, “Justice Dept. Finds
Success Chasing Health Care Fraud,” New York Times 23 January 2001).


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investigation of Medicare drug payments in 1999.57 Within a year Committee Chairman

Congressman Thomas Bliley (R-VA) was sufficiently concerned about VAC’s

representations to share information on his findings through sharply worded letters to

Clinton Administration officials.58 These emphasized the “setting and marketing of the

spread” and worrisome “impact of the spread on utilization decisions.”                               Bliley

transmitted similar sentiments to pharmaceutical companies.59 (It is noteworthy that

Democratic Congressman, F. Pete Stark--the most experienced health policy figure on the

House Ways and Means Committee--also wrote a letter with similar charges to the CEO

of Abbott, which was one of the firms under investigation by Congress).60 The process

of converting congressional actors into agents of policy change was, with bipartisan

support, well on its way.

         70.      The story became more publicly prominent in September of 2001 at a

congressional hearing entitled “Medicare Drug Reimbursements: A Broken System for

Patients and Taxpayers.” There was testimony by representatives of the GAO, HHS OIG,


57
   VAC officials were subpoenaed and then questioned privately by committee investigators in September,
2000. A press conference and document release followed. See “Deposition of Zachary Bentley,” United
States District Court, District of Massachusetts, In Re: Pharmaceutical Industry Average Wholesale Price
Litigation, 15 May 2007: 141.
          USA Today reported on the growing concern of congressional investigators, and noted that “some
of the documents…come from a whistleblower, Ven-A-Care pharmacy.” (Appleby, Julie, “Drugmakers
Accused of 'Unethical' Pricing,” USA Today, 27 September 2000).
58
   Representative Tom Bliley Personal Communication to HCFA Administrator Nancy-Ann Min DeParle,
25 September 2000 PHRMA_AWP 020179. The Congressman reports at page 5: “a review of utilization
patterns strongly suggests the use of vancomycin, the antibiotic of last resort in treating otherwise deadly
bacterial infections, may have dramatically increased as a result of the excessive Medicare spreads
effectively created by Abbott Laboratories. Many experts believe that, as a result of such types of over-
utilization, new vancomycin-resistant bacteria recently have emerged as a growing public health risk.”
59
   Representative Tom Bliley Personal Communication to Dey Pharmaceuticals, 4 May 2000
PHRMA_AWP 020214. The Congressman argues on page 2, “I would find it hard to believe that when
AWP was adopted as the benchmark for Medicare reimbursements, Congress intended to allow drug
manufacturers to charge Medicare whatever they wanted, or permit the use of Medicare dollars to
incentivize the use of particular drugs or increase sales or market share…it is imperative that those who
provide these services insure that prices being paid by Medicare reflect actual market-based prices,
consistent with the intent of Federal Law.”
60
   See Congressman Stark’s letter to Abbott CEO Miles White, 31 October 2000 (ABT-DOJ 0187889-95).


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trade associations, CMS Administrator Tom Scully and VAC Chief Executive Officer

Zachary Bentley.        The hearing was, according to members of the committee, the

“culmination of years of investigation and audit work performed by the subcommittee

staff and members of the first panel.”61

         71.     The claims VAC made were summarized by Mr. Bentley. “It became

apparent to us,” he asserted, “that many drug manufacturers reported truthful prices,

while others falsely inflated their price reports so that their targeted customers--

oncologists, urologists, home care companies, ESRD providers, DME companies, and

others--would be induced by the resulting windfall profits to order their drugs.”62 The

public record of the hearing contained dozens of industry documents received from VAC

that illustrated price manipulation and undeniable marketing of “the spread.”

         72.     At the hearing juncture, CMS Administrator Scully agreed with this

critical diagnosis. He discussed the regulatory history of Medicare payment policy and

concluded that a legislative solution to the problem was necessary. He suggested average

manufacturer price and average sales price as possible remedies.                       In his written

testimony, Mr. Scully 63 accepted that “by offering physicians and providers deep

discounts compared to the price they could bill Medicare, the drug manufacturers are able

to use the profit margins to manipulate physicians and providers to use their products for

Medicare beneficiaries.”64


61
   “Medicare Drug Reimbursements: A Broken System for Patients and Taxpayers,” Joint Hearing before
the Subcommittee on Health and the Subcommittee on Oversight and Investigations, 21 September 2001.
62
   Ibid at pg. 48.
63
   Scully’s views as Medicare’s administrator were in sharp contrast to his behavior as a lobbyist in the
1990s. In that role he had pressed for the continuation of the AWP basis of reimbursement, knowing at the
earlier time the gap between prices reported and paid. Deposition of Thomas A. Scully, 15 May 2007: 266-
267.
64
   “Medicare Drug Reimbursements: A Broken System for Patients and Taxpayers,” Joint Hearing before
the Subcommittee on Health and Subcommittee on Oversight and Investigations, 21 September 2001: 88.


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         73.     VAC’s revelations provided congressional officials with a clearer

understanding of the realities of drug firm pricing practices than they had previously.

The VAC campaign was not, it is plain from the historical record, the only reform

development in this period. The DOJ initiated its own investigation, understandably

unwilling to accept allegations from others as the sole basis for intervention. That would

not only take time, but also provide a different channel of governmental action from the

mid-1990s on. Moreover, the DOJ investigation separated HCFA leaders’ concerns

about the gaps between actual and estimated drug acquisition costs from the broader

charges at issue for the DOJ.65 Accordingly, the report now turns to a brief review of the

policy disputes and developments in the Medicare channel.

         iii.    Medicare, Drug Inflation, and Developments in the 1990s

         74.     As noted earlier, Medicare had from the outset faced serious budgetary

problems from continuing inflation in medical prices and consequent increases in

program expenditures. The role of drugs in that inflationary development would, in the

l990s, become a more substantial object of concern. The processes by which Medicare

came to different policies towards drug reimbursement after 2003 are complicated,

requiring attention to what might seem like unrelated developments.                       That requires

identifying first how the program dealt with inflationary forces in the major components

of expenditure: physician payment and hospital financing.




65
   HCFA Administrator Bruce Vladeck “was advised that these issues (the VAC claims) were under
investigation.” (Deposition of Bruce C. Vladeck, 21 June 2007: 488). His successor, Nancy-Ann DeParle,
stated “it was my understanding that the Justice Department officials were involved in investigating those
claims.” (Deposition of Nancy-Ann DeParle, 18 May 2007: 234-5). Both Vladeck and DeParle treated the
question of fraud investigation as a DOJ responsibility. This is precisely what Model II analysis would
anticipate.


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         75.     Note that between 1975 and 1987, Medicare’s spending per enrollee for

physician services had grown at an average annual rate of 15%, almost twice as fast as

the per-capita gross national product.66 That, in turn, prompted legislative reaction, just

as earlier in the decade, the Congress had agreed to large changes in how Medicare paid

for hospital services under Part A. 67 In 1986, the Congress had created the Physician

Payment Review Commission (PPRC) to provide advice on ways to reform Medicare’s

method of paying physicians.

         76.     By December 1989, the Congress, acting on the advice of PPRC,

mandated that Medicare’s physician payment methodology be revised by HCFA. In place

of the previous charge-based reimbursement methodology, payment levels were to be

determined on the basis of the relative resources--including physician work effort,

practice and malpractice expenses--required to perform services. The development and

implementation of this “resource-based relative value scale system” (RBRVS), would, it

was widely hoped, slow the growth in Part B spending for physician services.

         77.     Though Part B drugs were excluded from the RBRVS process, they did

not escape consideration in the overhaul.               The Bush Administration, for instance,

proposed to pay 85% of AWP,68 citing OIG reports that suggested AWP payments were

approximately 15% greater than actual acquisition costs for some drugs.69 The final rule


66
   “Medicare Physician Payment: Geographic Adjusters Appropriate but could be Improved with New
Data,” GAO July 1993: 3.
67
    See Oberlander: 123-24.
68
   “Medicare Program: Fee Schedule for Physicians’s Services (Proposed Rules),” Federal Register, 5 June
1991: 25800-01.
69
    In a discovery document in this case, an Abbott official noted the proposed change to 85% of AWP
reimbursement and warned in an internal memorandum that the “framework for a downward spiral of drug
prices is laid through these rules.” He notes that the ASCO, PMA, American Society of Nephrology
(ASN), and Alliance for Infusion Therapy “have vested interests in resisting these changes” and will be
“contacted by appropriate Alternate Site and Abbott Washington personnel to determine a response to the
proposed rules changes.” (ABT212056 – 14 June 1991). Another memo from Abbott’s Manager of


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adopted, however, was for the “lower of national AWP or the Medicare carrier’s estimate

of actual acquisition costs.”70 EAC was to be determined by HCFA surveys. In deciding

the standard, Bush officials again cited the complaints of physicians who suggested

“many drugs could be purchased at less than 85% of AWP – particularly multi-source

drugs – while others were not discounted.” 71

        78.      The RBRVS regulations became effective January 1, 1992.72 From 1992

until the Balanced Budget Act of 1997, the reimbursement policy for Part B drugs

remained the same.        The scant historical information available suggests that OMB

blocked HCFA from using the survey instrument developed due to paperwork concerns.73

AWP became the de facto payment mechanism.

        79.      With the election of a Republican Congress in 1994, the debate over

spending-control and budget-balancing became more vociferous. In health care policy,

some commentators, including the GAO, claimed that 10% of Medicare spending was the

result of “waste, fraud, and abuse.” In August, 1996, Congress passed The Health

Insurance Portability and Accountability Act (HIPAA), one provision of which allowed

funds recovered from government healthcare fraud litigation to be invested back into

government litigation efforts. Qui Tam cases multiplied in the decade that followed, as




Reimbursement is an examination of strategies for response to the NPRM; the first offered was that
“discounts vary among purchasers. Some providers may pay full A.W.P. and others may get a discount but
not a full 15% due to manufacturer discounting practices.” (ABT212051, 11 June 1991). This level of
discussion concentrated on what, by comparison to the spreads uncovered by the Ven-A-Care campaign,
were relatively restricted, if still consequential in impact on total expenditures.
70
   “Medicare Program: Fee Schedule for Physicians’s Services (Final Rules)” Federal Register 25
November 1991: 59507.
71
   Ibid at 59524.
72
   The practice and malpractice expense components of physician reimbursement continued to be paid on
the basis of historical charges and were not scheduled to be rolled into the RBRVS methodology until
1999, when they would be implemented over three years. This plan was ultimately delayed by BIPA 1999.
73
    See Deposition of Bruce Vladeck, 21 June 2007: 384-88.


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did settlement totals.74 All of these developments were part of a separate – i.e. legal --

channel of governmental behavior.


                              HHS Qui Tam Cases

     350
     300
     250
     200
     150
     100
      50
       0
        87


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             80.    For Medicare in 1998, President Clinton proposed actual acquisition costs

as the basis for reimbursement of Part B drugs. And, after months of consideration,

Congress instead substituted a 95% of AWP basis in the final legislation that contained

over 300 Medicare provisions. The pharmaceutical industry, either through its industry

association, The Pharmaceutical Research and Manufacturers Association (PhRMA), or

its members directly,75 spent some $50 million in lobbying in 1996 and 1997 during the

lead-up to passage of this legislation, the BBA.76


74
   “Information on False Claims Act Litigation” GAO-06-320R 15 December 2005: 26. Recoveries grew
as well; The New York Times reported that “from 1997 to 2000, recovery in civil fraud cases grew by more
than 50%, and last year, of the $1.5B recovered by the federal government from fraud cases generally,
$840M was from those involving healthcare.” (Steinhauer, Jennifer,“Justice Dept. Finds Success Chasing
Health Care Fraud,” New York Times, 23 January 2001).
75
   Abbott itself expended on the order of $15 million on lobbying between 1996 and 2000. (“Prescription
for Power,” Common Cause, June 2001). Discovery documents in this case demonstrate the aggressive
nature and sophistication of their efforts in trying to influence the course of Medicare Part B drug
reimbursement policy, particularly during the BBA consideration. Abbott’s Washington Office tracked
President Clinton’s AAC legislative proposal and noted “an industry meeting to discuss strategy with
regard to this issue has been tentatively scheduled for…February 20.” (ABT-DOJ 296012, 10 February
1997). Coordination with other interest groups--the American Society of Clinical Oncologists (ASCO) and
“the renal community”--allied against the AAC proposal is apparent. (ABT-DOJ 296152-4, 4 April 1997)
Senate and House Committee deliberations were followed by the office and a “well known health


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         81.      The Clinton Administration would propose similar reductions in

reimbursement levels for Part B drugs with their budget submissions in 1998, 1999, and

2000. (In December, 1997, President Clinton expressed his FY98 budget proposal for

payment at actual acquisition costs to the country during a radio address77). These efforts

were met by strenuous lobbying from provider and patient groups in the form of

allegations of underpayment for practice expenses associated with Part B (“incident-to”)




lobbyist.” (ABT-DOJ 296142, 16 May 1997). A major law firm, Hogan and Hartson, employing former
members of Congress and previous Administration officials, drafted “amendments to the President’s budget
bill.” (ABT-DOJ 296144, 16 May 1997). Abbott officials “met with members of Congress and staff on the
issue of Medicare drug reimbursement being changed from average wholesale price to acquisition cost.”
(ABT-DOJ 295983, 5 June 1997). Abbott officials noted favorable policy language -- 95% of AWP-- in
the House bill, but identified troubles with the Senate bill (which granted the Secretary discretion to set
payment levels below 95% of AWP) and suggested revisions to legislative language. (ABT-DOJ 296018,
13 June 1997). Attention was given to the composition of the House-Senate conference committee. There
were references to likely conferees Congressmen Bill Archer and Dennis Hastert, whose districts had
Abbott plants or offices and might be targeted for letter-writing campaigns. (ABT-DOJ 295994, 20 June
1997). The Washington office enlisted Abbott CEO Duane Burnham in the effort to win passage of the
House bill. A divisional VP wrote that “Abbott has a lot at stake in this reimbursement fight. I do not want
to feel, or having (sic) others feel, that we did not do everything possible to win in conference.” (ABT-DOJ
295994, 20 June 1997). A phone call between Abbott Chairman Burnham and House Ways and Means
Committee Chairman Archer took place prior to final passage of 95% of AWP policy; Abbott CEO wrote a
letter of thanks to Chairman Archer afterwards noting “when we spoke on the phone you said you intended
to hold the House language in conference committee and you did…Abbott thanks you for convincing the
rest of the conferees.” (ABT-DOJ 296003, 5 August 1997).
           This episode--and the Model III data on which it is based--does not illustrate government
acquiescence and approval in Abbott’s price reporting conduct, which was not fully disclosed and had not
been the basis of the lobbying. Rather, it exemplifies the difficulty of reforming a model of reimbursement
with which interested parties have become familiar. It also illustrated the capacity of Abbott and other
firms to protect a system of reimbursement in which the government had to rely upon the reported prices of
drug firms. (From another discovery document in this case, we know that the broader industry association
lobbied against the 1997 AAC proposal: “PhRMA expressed support for a proposal to reimburse at AWP.”
See PHRMA_AWP 007929).
76
   “Prescription for Power,” Common Cause, June 2001. No one can claim that lobbying is illegal; it is of
course part of the American political world, accepted as defending one’s interests before governmental
authority. Such lobbying helped to defeat President Clinton’s AAC plan. But, to see in the adoption of the
95% AWP policy government acquiescence is incorrect. Abbott officials did not lobby for a system of
vastly inflated price reports. They lobbied against a reduction in reimbursement that would not cover
provider cost, and against a system that would have required them to report actual acquisition costs.
77
   “Remarks by the President in Radio Address to the Nation” White House Office of the Secretary, 13
December 1997.


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drugs.78 Each time the Clinton proposals were rebuffed by the Republican Congress and

the 95% of AWP payment stayed in place.

         82.     During this period, Congress ordered three studies of payment policy

implementation and related matters.79               The impact of these studies is somewhat

paradoxical. On the one hand, the studies were part of the campaign to transform AWP

reimbursement. On the other hand, studying a topic necessarily produces delay in the

reform of a policy. To illustrate, consider the 2000 legislation, The Medicare, Medicaid,

and SCHIP Benefits Improvement and Protection Act (BIPA).80 That statute required the

GAO to assess whether physicians were adequately compensated for Part B drugs and

related expenses.81 This fact-finding is typical of a reform process. Yet, during the

course of the study, the Congress called for a moratorium on changes in reimbursement



78
   In the discovery documents for this case, I saw numerous examples of this sort of lobbying. One letter
(17 December 1997) from the American Society of Clinical Oncologists to members in response to the
Clinton radio address claimed having checked with Congressman Archer, who as Chairman of the House
Ways and Means Committee was pivotal in killing the Administration proposal, and he strongly supports
not changing the drug reimbursement mechanism that was enacted this year.” A sample letter about how to
lobby elected officials was included.
79
   For instance, in 1997, the BBA contained a requirement for the HHS Secretary to study the effects of the
95% of AWP policy and report to Congress by 7/1/99. (“Balanced Budget Act of 1997” PL 105-33 5
August 1997). The HHS report found mixed evidence on the question of AWP rate growth acceleration
generally. A Chicago Tribune report obtained from discovery in this case notes that Abbott raised the
AWP for one drug, Lupron, by 10% from 1998 to 1999, “offacting (sic) the lower government allowance.”
This was precisely the concern some in the Congress had in mind when ordering the study. (Zujac, Andrew
and Cohen, Laurie, “Feds Probe Abbott Venture’s Drug Sales,” Chicago Tribune 23 May 1999).
          A second instance was in 1999, when Congress passed the Medicare, Medicaid and SCHIP
Balanced Budget Refinement Act (BBRA). (“Medicare, Medicaid and SCHIP Balanced Budget
Refinement Act of 1999” PL 106-113 29 November 1999). There, one provision required the GAO to study
the “adequacy of Medicare payments to oncologists” under the recently implemented RBRVS overhaul for
administrative expenses.
80
   “Medicare, Medicaid and SCHIP Benefits Improvement and Protection Act of 2000” PL 106-554, 21
December 2000.
81
   The GAO concluded that physicians were able to obtain “incident-to” drugs at prices well below AWP.
“For most physician administered drugs, the average discount from AWP ranged from 13 to 34%. Two
physician administered drugs had discounts of 65% and 86%.” (“Payments for Covered Outpatient Drugs
Exceed Providers’ Cost” GAO, September, 2001: 4). Oncologist administrative costs--reimbursed by the
practice expense RBRVS component rolled out in 1999--were 8% higher than with the old charge-based
system. Another component--practice expenses associated with non-physician care--was found to be
somewhat underpaid.


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methodology.82 One might imagine a moratorium as a victory for the status quo. In this

instance, that interpretation does not apply. Indeed, the delay had the support of one of

the most serious critics of the behavior of the pharmaceutical industry in drug pricing,

Congressman Stark of California. Context, in short, shapes meaning. 83

          83.     The 2000 legislation--and its aftermath--reflected the confluence of the

three channels I have described. Drug pricing revelations became more public and more

contested. For example, the National Association of Medicaid Fraud Control Units

(NAMFCU) escalated the attack on the reliability of drug prices reported by First Data

Bank. According to NAMFCU, the transaction prices were much lower than published

AWPs.84 In September, 2000, HCFA sent its Medicare carriers the list along with

qualifications for their usage.85 The provider community appealed to Congress against

usage of the prices. By November, HCFA sent a memorandum to carriers instructing

them not to use the prices86 and Congress ordered the BIPA study.87 This combination of

revelation, reaction, hesitancy, and further study is typical of controversial reform politics


82
   “Medicare, Medicaid and SCHIP Benefits Improvement Act of 2000” PL 106-554, 21 December 2000,
Sec. 429.
83
   DeParle tried to use DOJ AWPs for certain part B drugs. Congress in an interim bill, labeled as a
Medicare Anti-Fraud Bill relieved HCFA of the statutory obligation to use AWP, however. (This occurred
after Bliley’s letters to HCFA following his initial investigation). It required, with Stark’s approval, that
HCFA take no such action until the completion of a GAO study also required by the bill. The presentation
of the GAO study occurred at the 9/21/01 hearings at which substantial additional information was
provided to the Congress as detailed above.
84
    These prices had been collected from a federal/state investigation originating from the VAC qui tam
allegations. (NAMFCU Letters from 16 February 2000 and 18 May 2000).
85
   “An Additional Source of Average Wholesale Price Data in Pricing Drugs and Biologicals Covered by
the Medicare Program” CMS Program Memorandum, 8 September 2000.
86
   An internal Abbott memorandum described the HCFA retraction of investigation AWPs as “good news,”
but “not good news that Congress continues to have an interest in this issue.” The House passage of the
provision requiring GAO study and likelihood of future hearings are noted. Congressman Bliley--“the lead
antagonist on this issue”--is retiring; likely successors are seen as “friends of Abbott and not likely to take
the same combative approach on the issue as Mr. Bliley.” Haas, Rosemary, “AWP: HCFA Reverses on
Implementation of Drug Payment Reduction” e-mail to Abbott Co-Workers, 22 November 2000. (ABT-
DOJ 0236630).
87
   “An Additional Source of Average Wholesale Price Data in Pricing Drugs and Biologicals Covered by
the Medicare Program” CMS Program Memorandum, 17 November 2000.


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in America.     Interpretation is not simple.        Knowing the balance of influences that

generated this sequence is itself a substantial research task. But, what can be claimed

with confidence is that the bargaining over a substantial change in drug reimbursement

policy was in this period begun in earnest.

        84.     The 2000-01 investigations were an important element in a decade long

story. They helped shift the position of influential congressional Republicans. That in

turn made more probable the reforms introduced later by the Medicare Modernization

Act of 2003.88 The implementation in 2005 of a new Average Sales Price standard for

reimbursement, for instance, would replace the AWP basis for most Part B drug

reimbursement. 89 During the period of this case, Medicare Part B drug spending grew

dramatically in real terms and as a percentage of Part B spending over the decade. Only

the   MMA        implementation       would     level     off   that    steep    growth      curve.




88 “Medicare Prescription Drug, Improvement and Modernization Act of 2003” PL 108-173 8 December
2003.
89
   “Medicare Prescription Drug, Improvement and Modernization Act of 2003,” PL 108-173, 8 December
2003, sec 301-2239.


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                                     Medicare Part B Drug Spending

              12000


              10000


               8000
  $millions




               6000


               4000


               2000


                 0
                      1992 1993 1994 1995 1996 1997 1998 1999 2000 2001 2002 2003 2004 2005 2006


Source: CMS Office of the Actuary

                iv.     Other Developments in California

                85.     As I understand it, this case concerns the time period from 1994 to 2004.

The longer, more general history described above is, of course, relevant to the story of

California’s drug pricing. However, I also have reviewed and considered additional

historical data specific to California’s experience with drug pricing and reimbursement in

reaching my conclusions in this case.                Far from demonstrating approval, or even

acquiescence, in the pricing conduct of the defendants, the historical record shows

California’s repeated efforts to restrain its drug spending, as well as the pharmaceutical

industry’s sustained lobbying and other activities to thwart such efforts.

                86.     In 1989, under pressure from HCFA to discount (as was the case more

generally in this period), California started a full-scale regulatory process that resulted in

implementation of an AWP-5% standard (from an undiscounted AWP, the typical earlier



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state mode), a $4.05 dispensing fee, and direct price contracts with 12 drug firms. The DP

contracts were designed to lower reimbursement for the relevant products.

       87.     Even before the federal government established Medicaid rebates through

OBRA 90, California had established its own state rebate program by 1990.             This

program originally applied only to brand drugs, unlike OBRA federal rebates that applied

to both brand and generic drugs. However, from 1994-96, there was a one-time

legislatively imposed mandatory supplemental rebate that applied to all drugs and

manufacturers, the extension of which was vigorously resisted by the drug industry. The

supplemental rebate program presently continues in effect for branded drugs. Generic

manufacturers have generally refused to enter into supplemental rebate agreements with

California. (I note that defendant Sandoz briefly had a supplemental rebate contract for

one of the Sandoz’s generic drugs, a drug for which California has brought suit.). Since

branded drugs continue to account for approximately 80% of Medi-Cal’s total drug

expenditures, (which are approaching $6 billion per year in an overall $40 billion

program), California health officials have been understandably more preoccupied with

branded drug costs and total Medi-Cal expenditures than on generic drug costs.

       88.     In 1994-95, California was in the throes of a state fiscal crisis. Without

study, the legislature reduced the reimbursement for each drug claim by 50 cents, a figure

later reduced to 25 cents, and then 10 cents. The legislature tried to take other steps at

this time, but none other than the claim reimbursement reductions and the supplemental

rebate contracts described in the previous paragraph were enacted. The historical record

shows that these were efforts to reduce public expenditures, not efforts to reform the drug

reimbursement system nor deal with possible fraud.




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       89.     In 1996, OIG reports identified the increasing spreads in California drug

prices, particularly in generics.     Medi-Cal prepared proposals for the California

legislature to increase the discount (towards 10%), but these proposals did not make it out

of the legislature. Instead, in 1999, the California legislature instructed Medi-Cal to

commission a study so that some agreement could be reached about what action to take.

That study would be performed by the Myers&Stauffer firm and was completed in 2002.

       90.     The legislature was in stalemate for much of the period 1996-2002. In

2002, the legislature decided that drug reimbursement would be decreased to AWP-10%,

eliminated direct price payments (DP) as a standard, and kept the same dispensing fee. It

is my understanding that the defendants claim that this modest decrease in some way

supports their claims of approval or acquiescence. I disagree. There were continuing

battles, both political and legal, during this period. See, e.g., Orthopaedic Hospital v.

Belshe, 103 F.3d 1491 (9th Cir. 1997) (describes lengthy litigation over reimbursement

rates in California).   Efforts to make change that were thwarted by lobbying and

litigation—or slowed by independent study-- hardly qualify as evidence of approval or

acquiescence in the pharmaceutical companies’ conduct.

       91.     By 2002, the indicators of increasing spreads between reported and

acquisition costs prompted the legislature to enact an increased discount from AWP-5%

to AWP-10%. Shortly after the 2002 changes were implemented, Myers&Stauffer issued

its report. The report distinguished between acquisition costs and dispensing fees. In

response, in 2004, the legislature made a more substantial change to AWP -17%. That

change was part of an overall adjustment of policy. There was an increase in dispensing

fees: from $4.05 to $7.25 (for pharmacies) and $8 (for long term care facilities).




                                            54
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       92.     During the relevant time period and at the federal level, the

pharmaceutical companies resisted any changes to the AWP method--or alternative

measures--through vigorous and costly lobbying. In California, there were other forms of

resistance to increases in AWP discounting or alternative methods of reimbursement. In

Dey’s case, a lawsuit was filed, which sought to enjoin First Data Bank from reporting

much lower and apparently more accurate prices. See Complaint in Dey v. First Data

Bank, Inc., Superior Court of the State of California (Napa County), Case No. 26-21019

(April 15, 2003). The arguments defendants give now for why changes were not made

are, first, the notion that the “government” acquiesced in what “everyone knew” were

inflated “list” prices. Second, the defendants and some of the experts they have hired

contend that prices were inflated in order to ensure access to drugs (the so-called “cross-

subsidization” point).

       93.     The historical record does not support the defendants’ contentions. No

one agreed to the level of inflated prices that were used. Nor did the drug companies

come clean at all about that level of inflation. Moreover, on the cross-subsidization

claim, the dispensing fee remained flat for some time and, when it changed in 2004, it

had to do with a large change overall. That sequence does not support the cross-subsidy

claim. It does take into account the political power of pharmacies to push, when there is

a big policy change overall, for some compensation to take into account their losses in

revenue on the ingredient side. The fact that there was not a pattern of that adjustment

over time, but only one big example in 2004, demonstrates the separate calculation that

the policy calls for. The California government was more concerned with the overall




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budget impact and, as noted above and in the depositions of California officials, paid

special attention to the net drug costs to the state.

        94.     Finally, the depositions of California officials that I have reviewed

establish that they were unaware of the level of price inflation or of the manner in which

the defendants marketed the spread until the present suit was filed and independent

investigation by the State supported the allegations. This is not surprising given the

conduct of the defendants and given the fact that the information previously available to

Medi-Cal officials was almost entirely focused on averages, not on the conduct of

specific drug firms and specific drugs. As is noted below, not all drug firms engaged in

the sorts of machinations alleged against the defendants here, so reports addressing the

industry as a whole in California could not have revealed the sorts of particularized

misconduct alleged in this case.

IX.     Additional Specific Response to Question Number 3.

        94.     With this overview of the policy history in mind, my conclusion is that

neither the federal nor California governments approved of--or acquiesced in--the

defendants’ price reporting conduct as alleged in this case. I now will address the

additional questions posed in section I.

        How do the following facts and information bear on my opinions?


        (i)     Medi-Cal’s continued use of published prices (AWPs, WACs and
                Direct Prices).
        95.     The continued use of reported AWP (or WAC or direct) prices has a

relatively simple explanation, one that does not reflect governmental acquiescence or

approval of the price reporting of the defendants.




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       96.     First, the federal Government--in its many different parts--did not arrive at

an agreed upon alternative reimbursement policy that was practical operationally and

acceptable to the Congress. As a result there was no federal insistence on an overall shift

in the drug reimbursement policy arena. This was the case through the 1990s. After the

revelations of the 2001 congressional hearings, the stage was in fact set for a change in

Medicare’s drug reimbursement policy in conjunction with a major transformation in that

program’s structure and drug coverage.           Similarly, the history detailed above

demonstrates years and years of debate about, as well as legal challenges to, pricing

methodologies in California. Not being able to reach consensus about how to address

pricing is not the same thing as approving of or acquiescing in behavior that was

apparently designed to hide the facts and take advantage of the State’s lack of

information about the extent of the pharmaceutical companies’ machinations (such as

marketing the spread). Organizational analysis, as set out in the text of the report, is the

main basis for this conclusion. In addition, the role of particular reformers--and actors in

the Congress, the DOJ, and other institutions-- provides support for this conclusion.

       97.     The reasons for the continued use of published prices in California are

largely the same. The history detailed above is one of years of struggling to get to

appropriate pricing methodologies.      California sought to contain prices using these

methods, and achieved some success. First, California applied 5% discounting from

AWP. Second, there was the 10% rebate program between 1994 and 1996, itself an

important contributor to lower net costs of Medi-Cal’s drug program. Third, there was

the 1995 (effective) across-the-board reduction by fifty cents of each prescription, a

reduction that itself was reduced over time. The shift from AWP minus 5% to AWP



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minus 10% in 2002 illustrates the response of California’s policy makers, with a lag, to

additional inflationary developments in the pharmaceutical industry. And, finally,

following the report of the accounting firm Myers&Stauffer, California adopted an AWP

minus 17% standard in 2004 and tried to implement a new MAIC program.

       98.     Moreover, throughout the period at issue in this case, providers and the

drug industry used lobbying and litigation efforts to maintain the status quo, making it

decidedly difficult for Medi-Cal or the state legislature to make changes in its methods.

The history shows that California was mostly focusing on adjusting, not transforming,

policy throughout this period – which is a much more common governmental activity and

certainly helps explain the incremental adjustments described in paragraph 97.

       99.     It should be added that the honest presentation of prices--under AWP or

WAC--was in fact an operational alternative that the drug industry could use properly--

and some firms did. Finally, there is ample evidence that the continued use of AWP

prices was the source of considerable public debate and extensive investigations by

organizations of the federal and state governments, including California.             The

experiments with discounting, rebates and other examples testify to this. Nothing in this

record supports the proposition that the government approved or acquiesced in the

defendants’ reporting of inflated prices.

       (ii)    The record of VAC’s communications with various persons within the
               Federal Government (Congress, HHS, HCFA) and California.


       100.    As this report documents, VAC did indeed communicate with a

considerable variety of governmental organizations and officials, including in California,

and did so over a number of years. That is the basis for the report’s characterization of



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VAC’s “campaign” to impress upon governmental bodies the scale of misrepresentation

in the reported prices used by Medicare and Medicaid. That the campaign was extensive

in scope and time testifies to the difficulty in American politics of a) getting dispersed

institutions to agree on both a problem and an acceptable remedy and b) convincing busy

officials that this area of inflation (with others more obvious) should be the focus of

reform effort. (One needs to recall that there were hundreds of Medicare and Medicaid-

related qui tam suits in the 1990s. In that respect, these lawsuits were another channel of

governmental reform action.)

       101.    There is nothing unusual about such a reform campaign--or the difficulty

it faced--in convincing others that the problem of material misrepresentation was far

beyond what was commonly assumed among those officials convinced that merely

discounting from AWP was a workable option.              This interpretation depends on

understanding the conventions of legal process as compared to those of governmental

policy-making. There were many steps between the campaign to draw attention to

allegedly fraudulent conduct and the acquisition of the legally acceptable depth of

evidence that the California Attorney General would require before taking action.

       102.    VAC’s contribution to the California litigation was to persuade officials

that the magnitude of the spreads was much greater than investigators previously had

imagined. California’s investigators buttressed their position with detailed information

about particular drugs. VAC filed suit in 1998, but that suit remained under seal until

2003, when California’s Attorney General intervened on behalf of the state. (Notably,

this was the same year Dey filed suit in California to keep First DataBank from reporting

more accurate prices.) In that five year period, there were numerous investigations and



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extensive research was performed before California opted to join the suit. VAC’s actions

were simply a prod to legal action, which makes sense and is entirely consistent with my

opinions.

       103.    Indeed, the changes in California’s drug reimbursement policy following

VAC’s revelations of fraud are also relevant. It provides additional evidence that the

California’s government agencies did not approve or acquiesce in the price reporting

conduct at issue in this case.

       (iii)   Federal and California reports including those issued by the Office of
               the Inspector General (OIG), the California State Comptroller and
               studies by and for the California Medi-Cal program.
       104.    These reports, cited in the text above and listed in appendix 3, are part of

the record of organizational units charged with exploring both fraudulent conduct and

operational problems in the reimbursement and administration of public healthcare

programs. The identification of differences between costs paid by providers and prices

reported to the compendia was receiving increased attention and affirmed repeatedly by

the OIG in the decade that followed. Likewise, the record shows a long history of

California’s efforts to grapple with drug reimbursement. It is notable that despite all of

the efforts at the state and federal levels to understand and address drug pricing, none of

the early reports revealed government knowledge of anything like the level of price

reporting misconduct by drug firms that is alleged here. Rather, they reported gaps for

some drugs between published prices and the prices available to some providers.

       105.    There was no consensus about the scope and scale of those gaps. And,

until VAC’s revelations, there was little or no understanding of the scale of the inflation

or of the role played by manufacturers in causing inflated reimbursement. In short, clear



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and detailed understanding arrived much later. The more important point, however, is

that Medi-Cal officials and Medicare fiscal intermediaries could not act boldly on reports

of minor or major instances of inflated prices. They, as operational units, required a

method of paying regularly for drugs that could be handled by computer programs. That

is largely why reliance on discounting or rebates was more general in the 1990s, and

understandable in the absence of documentation of extraordinary inflation of AWP prices

by some firms and for some drugs.

       106.    These reports, coupled with the work of the California State Comptroller,

helped identify problems with drug reimbursement in a general way at both the state and

federal levels. None offered enough specificity to make it clear what remedies should be

applied to these problems.       Further, the studies and reports about drug pricing in

California and at the federal level during this period show increasing incremental

understanding of specific issues, but did not reveal the wholesale misconduct of the

defendants in their pricing activities.

       (iv)    Federal and California (legal) investigations of drug pricing and
               reimbursements.
       107.    The same observation applies to this class of investigations by different

institutions of American government. As this report emphasizes, American government

is, in comparative terms, extraordinarily dispersed both functionally and geographically.

No scholar of government would expect descriptions of “the American government’s”

knowledge to be the basis for claims about what was known, what were thought to be

options for change, and why action was or was not taken. Investigations by the United

States Congress or by a state legislature like California’s serve a variety of purposes;

there is no necessary connection between taking credit for identifying fraud and being


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              Appendix 1: Government Anti-Fraud Program Chronology

1972 Passage of federal Anti-Kickback statute via SSA of 1972. Intended to protect
federal health care programs and patients from fraud and abuse by limiting the influence
of money on health care decisions. It prohibits payments in any form made purposefully
to induce or reward the referral or generation of federal health care program business.

1976 The HEW Inspector General Act of 1976 (Public Law 94-505) creates the Office
of the OIG. Two years later, a similar law is passed to create 14 additional inspector
generals in other federal agencies.

1977 Congress strengthens anti-kickback provisions via Medicare-Medicaid Anti-fraud
and Abuse Amendments.

1986 False Claims Act Amendments of 1986: “Congress made a number of changes in
the False Claims Act, which dated to the Civil War. The original law, passed at the
urging of President Lincoln to combat widespread fraud by suppliers to the Union Army,
is still the Government's primary tool for prosecuting fraud. The new law provides that
the Government may recover three times the amount of damages, up from double the
amount. Civil penalties are increased from $2,000 for each false claim under the old law
to a maximum of $10,000. In addition, the new law makes it clear that proof of intent to
defraud the Government is not required in order for a defendant to be found guilty; proof
that the defendant deliberately ignored or acted in reckless disregard of the truth will be
sufficient.” (NY Times 11/15/86)

1987 Congress again strengthens anti-kickback provisions via Medicare and Medicaid
Patient and Program Protection Act

1989 OBRA 1989 – Stark I: prohibited physician self-referrals to clinical laboratories
in Medicare. Effective in 1992.

1993 OBRA 1993 - Stark II: Added prohibitions against physician self-referral for
other services and broadened to include Medicaid. Under the statute, criminal, civil, or
administrative liability can result if one knowingly and willfully offers to pay for, solicit,
or receive any remuneration to induce referrals of items or services reimbursable under
federal health programs. Effective in 1995.

1995 GAO estimates that “fraud and abuse may account for 10% of healthcare costs.”
(GAO/T-HEHS-96-7) Senator Roth cites estimate in 2/14/96 hearing: “GAO has
estimated that the loss from fraud and abuse equals approximately $17B which is 10% of
total Medicare spending.”

1996 The Health Insurance Portability and Accountability Act of 1996, among other
things, established a Health Care Fraud and Abuse Control Program (HCFAC) to
strengthen ongoing efforts to combat fraud and abuse in health care programs. Under the
HCFAC program, a portion of settlements and judgments resulting from FCA cases



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involving health care fraud are used to finance part of the antifraud activities in HHS and
DOJ. In fiscal year 2004, HHS and DOJ were allocated over $240 million from HCFAC
program funds to devote to their health care fraud enforcement activities.

2006 GAO reports (GAO -06-320R) that the federal government has won recoveries of
over $15 billion from fiscal years 1987 through 2005. Of the $15 billion, 64 percent, or
$9.6 billion, was for recoveries associated with cases filed by whistle blowers under
FCA’s qui tam provisions. Almost a third was for programs at HHS.




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                    Appendix 2: Ven-A-Care Chronology

10/94      VAC begins to contact state AG’s

1995       VAC files lawsuit against various pharmaceutical companies, including
           Abbott

9/95       VAC meets with OIG and HCFA officials (pricing data to OIG follows)

10/2/96    VAC Letter to HCFA Administrator Vladeck

7/2/97     VAC meets with Texas Attorney General

3/19/98    VAC presentation to NAMFCU

3/20/98    VAC presentation to HCFA Administrator DeParle

12/7/98    VAC presentation to HCFA

1999       Commerce Committee investigation begins

9/00       VAC official (Z. Bentley) testifies privately to Commerce Committee;
           press conference and Committee release of documents leads to USA
           Today article

4/24/01    VAC presentation to Commerce Committee

9/21/01    VAC Testimony at public hearing of Commerce Committee




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      Appendix 3: Related Government Reports (1980-2001)

                                          REPORT                                        SOURCE      DATE
     Programs to Control Prescription Drug Costs under Medicaid and Medicare could       GAO     12/31/1980
1    be Strengthened
     Title XIX of the Social Security Act, Limitation on Payment or Reimbursement for    OIG     9/1/1984
2    Drugs
     Use of Average Wholesale Prices in Reimbursing Pharmacies Participating in the      OIG     10/3/1989
3    Medicaid and Medicare Prescription Drug Program
     Changes in Drug Prices Paid by VA and DOD since Enactment of Rebate                 GAO
4    Provisions                                                                                  9/1/1991
5    Physicians’ Costs for Chemotherapy Drugs                                            OIG     11/6/1992
     Changes in Drug Prices Paid by HMOs and Hospitals since Enactment of Rebate         GAO
6    Provisions                                                                                  1/1/1993
     Outpatient Drug Costs and Reimbursements for Selected Pharmacies in Illinois and    GAO     3/1/1993
7    Maryland, Fact Sheet for Congressional Committees, GAO/HRD-93-55FS
     Review of Management Controls Over the Medicaid Prescription Drug Rebate            OIG     6/1/1993
8    Program
9    Medicare Physician Payment                                                          GAO     7/1/1993
     Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid        OIG     5/31/1996
10   Prescription Drug Program of the California Department of Health Services
11   Suppliers’ Acquisition Costs for Albuterol Sulfate OEI-03-94-003932 (June 1996).    OIG     6/1/1996
12   A Comparison of Albuterol Sulfate Prices OEI-03-94-00392 (June 1996).               OIG     6/1/1996
     Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid        OIG     7/11/1996
13   Prescription Drug Program of the Montana Department of Health Services
     Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid        OIG     8/13/1996
14   Prescription Drug Program of the Florida Department of Health Services
     Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid        OIG     9/4/1996
15   Prescription Drug Program of the North Carolina Department of Health Services
     Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid        OIG     9/12/1996
16   Prescription Drug Program of the Delaware Department of Health Services
     Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid        OIG     11/21/1996
17   Prescription Drug Program of the Virginia Department of Health Services
     Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid        OIG     12/6/1996
18   Prescription Drug Program of the New Jersey Department of Health Services
     Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid        OIG     12/24/1996
19   Prescription Drug Program of the Nebraska Department of Health Services
     Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid        OIG     1/21/1997
20   Prescription Drug Program of the Missouri Department of Health Services
     Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid        OIG     1/31/1997
     Prescription Drug Program of the District of Columbia Department of Health
21   Services
     Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid        OIG     2/12/1997
22   Prescription Drug Program of the Maryland Department of Health Services
     Medicaid Pharmacy-Actual Acquisition Cost of Prescription Drug Products for         OIG     4/1/1997
23   Brand Name Drugs A-06-96-00030 (April 1996).
     Medicaid Pharmacy – Actual Acquisition Cost of Prescription Drug Products for       OIG     4/10/1997
24   Brand Name Drugs 1997
     Medicaid Pharmacy – Actual Acquisition Cost of Generic Prescription Drug            OIG     8/4/1997
25   Products 1997



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26   Excessive Medicare Payments for Prescription Drugs OEI-03-97-00290                OIG   12/1/1997
     Audit of State Aids Drug Assistance Programs’ Use of Drug Price Discounts A-01-   OIG   1/1/1998
27   97-01501 (January 1998).
     Need to Establish Connection Between the Calculation of Medicaid Drug Rebates     OIG   5/1/1998
28   and Reimbursement for Medicaid Drugs A-06-97-00052 (May 1998)
     The Impact of High-Priced Generic Drugs on Medicare and Medicaid OEI-03-97-       OIG   7/1/1998
29   00510 (July 1998).
     Are Medicare Allowances for Albuterol Sulfate Reasonable? OEI-03-97-00292         OIG   8/1/1998
30   (August 1998).
     Comparing Drug Reimbursement: Medicare and Department of Veterans Affairs         OIG   11/1/1998
31   OEI-03-97-00293 (November 1998).
     Medicare Reimbursement of End Stage Renal Disease Drugs OEI-03-00-00020           OIG   6/1/2000
32   (June 2000).
33   Medicare Reimbursement of Albuterol OEI-03-00-00311 (June 2000).                  OIG   6/1/2000
     Aids Drug Assistance Program Cost Containment Strategies OEI-05-99-00610          OIG   9/1/2000
34   (September 2000).
35   Medicare Reimbursement of Prescription Drugs OEI-03-00-00310 (January 2001).      OIG   1/1/2001
     Cost Containment of Medicaid HIV/AIDS Drug Expenditures OEI-05-99-00611           OIG   7/1/2001
36   (July 2001).
     Medicaid Pharmacy – Actual Acquisition Cost of Brand Name Prescription Drug       OIG   8/10/2001
37   Products 2001, A-06-00-00023
38   Medicaid’s Use of Revised Average Wholesale Prices OEI-03-01-00010                OIG   9/1/2001
     Medicare Payments for Covered Outpatient Drugs Exceed Providers’ Cost, Report     GAO   9/21/2001
39   to Congressional Committees, GAO-01-1118




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EDUCATION:

Harvard University, PhD, 1966 (Politics and History)
Wadham College, Oxford, Graduate Research Fellow (Philosophy and Politics), 1961-62
Harvard College, BA, American History and Literature, 1960

EMPLOYMENT HISTORY:

1983-Present             Emeritus, Professor of Public Policy, School of Management, Professor,
                         Department of Political Science, Yale University
2007                     Adjunct Professor of Public Policy, John F. Kennedy School of Government,
                         Harvard University
1999-Present             Adjunct Professor of Law, Yale University
1993-2003                Director of the Robert Wood Johnson Foundation’s post-doctoral program in
                         Health Policy, Institution for Social and Policy Studies, Yale University
1979-83                  Chairman, Center for Health Studies, Institution for Social and Policy Studies,
                         and Professor of Public Health and Political Science, Yale University
1976-79                  Associate Professor, Committee on Public Policy Studies, University of Chicago
1974-79                  Research Fellow, Center for Health Administration, University of Chicago
1973-79                  Associate Professor, School of Social Service Administration, University of
                         Chicago
1970-73                  Associate Professor of Political Science and Public Policy, University of
                         Minnesota and Associate Dean, School of Public Affairs, 1970-72
1967-70                  Assistant and Associate Professor of Political Science, Member, Institute for
                         Research on Poverty, University of Wisconsin
1966-67                  Post-doctoral Fellow, University of Essex and Nuffield College, Oxford
1965-66                  Instructor, Social Studies, Harvard University
1962-65                  Teaching Fellow, Department of Government, Harvard University


PROFESSIONAL APPOINTMENTS

Fellow, Institute of Medicine, National Academy of Sciences, 1993-
Member of the Board, National Academy of Social Insurance, 1987-95, Fellow 1987–
Chairman of the Scientific Advisory Board of the Institut Pasteur/CNAM School of Public Health, 2007
Centennial Visiting Professor, London School of Economics, Spring term 2001-2003
Rock Carling Fellow, Nuffield Trust, England, 2001
Robert Wood Johnson Investigator Award in Health Policy Research, 2001
Visiting Fellow, Australian National University, 1999
Visiting Fellow, All Souls College, Oxford, England, 1998
Fellow, Netherlands Institute for Advanced Study, (NIAS), 1997-98
Visiting Professor, Kennedy School of Government, Harvard University, 1996; Spring, 2001
Visiting John J. Hill Professor at the University of Minnesota, 1996
Fellow, Canadian Institute for Advanced Research, 1987-1995
Visiting Fellow, Russell Sage Foundation, 1987-88
Flinn Foundation Distinguished Scholar in Health Care Management and Policy, Arizona State University,
         and University of Arizona, 1986


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“Rethinking National Health Insurance,” selected as best health article by Policy Studies Annual, 1977
Research Fellow, Kennedy School of Government Institute of Politics, 1970
Research Fellow, Adlai Stevenson Institute, 1969
Kennedy School of Government Post-doctoral Fellowship (University of Essex and Nuffield College,
          Oxford) 1966-67
Finalist, Allan Nevins Prize of the Society of American Historians, for PhD Thesis on “The Career of John
          Calhoun,” 1966
Harvard Graduate School Fellowship, 1962-1965
Rotary International Fellowship, 1961-1962
Wadham College Essay Prize, 1962
Woodrow Wilson Fellowship, 1961-1962
History and Literature Prize, 1959
John Harvard Prize, 1957, 1959
Lockheed Leadership Scholarship, 1956-1960


SIGNIFICANT GRANTS:

Principal Investigator, “Political Analysis: Applications to Health Care and Health Policy,” funded by the
         Robert Wood Johnson Foundation, 2001-2003
Director, Robert Wood Johnson Foundation Post-doctoral Program (Medical Care and Social Science),
         1992–2003
Principal Investigator, “Economic Issues and Aging in Canada and the United States: Problems of Income
         Security,” funded by the Donner Foundation, 1989-1991
Co-director, “Reconsidering the Institutions of Social Security,” funded by the project on the Federal Social
         Role Ford Foundation, 1984-1986
Principal Investigator, “New Perspectives in Health,” funded by the Kaiser Family Foundation, 1979-1984
Director, Research Project on National Health Insurance, funded by the Robert Wood Johnson Foundation,
         1976-1978


EDITORIAL RESPONSIBILITIES:
Advisory Board, Canadian Journal, Healthcare Policy, 2006-
Advisory Board, Canadian-American Public Policy (CAPP), 2002-
Editorial Board, Journal of Comparative Policy Analysis, 2002-
Editorial Advisory Board, Journal of Health Services Research and Policy, 1996-
Editorial Board, International Journal of Health Planning and Management, 1997-
Editorial Board, Health Policy/ Ethics/ Health Services Research, 1979-1989
Editor, Journal of Health Politics, Policy and Law, 1980-1984; Board Member, 1984-


ADVISORY POSITIONS:
Member, Editorial Board of Pension Reforms, (on-line international information broker of research on
  pension issues www.PensionReforms.com), 2006–
Member, Medicare Coverage Advisory Committee (MCAC), 2007–
Advisory Board, On Demand Books, 2007–
Advisory Board Chair, The Crescent Group
Member, Advisory Board, Canadian-American Public Policy (CAPP), 2002–
Member, Advisory Board, Yale Medical School, RWJ Clinical Scholars Program, 2000–
Member, Advisory Board, American Ditchley Foundation, 2000-
Member, American Board of Ophthalmology, 2000–2003
Member, Advisory Board, Health Innovation Fund, Toronto, Ontario, Canada, 2000–
Member, Selection Committee, “Society, Culture & the Health of Canadians,” for Social Sciences and
        Humanities Research Council, Ottawa, Canada, 1999
Member, Adjudication Committee, “The Project on Trends,” of Social Sciences and Humanities Council of
        Canada, 1998


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Member, Board, 2030 Center: Social Security Project Advisory Board, 1998
Member, National Health Research Institute, Center for Health Economics Research, Government of
         Taiwan, 1997-
Member, International Advisory Board of The London School of Economics and Political Science,
         (Health), 1996-
Member, Committee to Visit the John F. Kennedy School of Government, 1996-2002
Member, Board of Directors, National Academy for Social Insurance, 1986-1995
Member, Advisory Board, Center for National Policy, 1986-1992
Member, Board of Directors, Center for Study of Drug Development, Tufts University, 1986-99
Senior Advisor on Health and Social Security, Mondale/Ferraro Campaign, 1983-1984
Member, President Carter's Commission on a National Agenda for the Eighties, 1980-1981
Member, Committee on Consumer Representation in Health Planning, Institute of Medicine, National
         Academy of Science, 1979-1980
Member, Advisory Board, Journal of Health Politics, Policy and Law, 1976-
Member, Community Action Program Commission, Madison, Wisconsin, 1968-1969
Special Assistant to Wilbur Cohen, Undersecretary of HEW, Summer 1966


CURRENT EXPERT WITNESS CASES:

Medicaid Drug Pricing Litigation (On behalf of 16 states and US Department of Justice)
Asbestos Cases (On behalf of Union Carbide, Henkel, Northrop Grumman and Dow, various Insurance
        Companies)
Medicare Case re: CMS ruling on durable medical equipment coverage (On behalf of plaintiff)


LITIGATION EXPERIENCE

Expert Witness, Report on Asbestos; Kelly Moore Paint Company vs. Union Carbide Corporation, for
        Orrick, Herrington & Sutcliffe LLP, testified in Angleton, Texas on October 18 and 19, 2004
Expert Witness, Report on Asbestos, Kanawha County, West Virginia, October 11, 2002
Expert Witness, Report on Coaches’ Choice Sports Camp, Inc., et al. v. Cabrini College, et al. for
Montgomery, McCracken, Walker & Rhoads, 2002-2003: testified
Expert Witness, Report on Contaminated Blood from USA, Hepatitis C, 1998 for Attorney General,
Government of Canada: report supplied
Expert Witness, Report on constitutionality of the Quebec ban on private insurance for publicly financed
services (The Chaoulli – Quebec case), 9/28/99 for Attorney General, Government of Canada, 1999
Expert Witness, Report on Tobacco Case, Kirkland & Ellis, Jones, Day, Reavis & Pogue, and Arnold and
        Porter, 1998 - 2000
Expert Witness, Report on Physician Supply and Cost Containment in New Brunswick for Attorney
        General, Province of New Brunswick, Canada, 2000. Testified at trial
Expert Witness and Consultant for AARP, 1995-1997: report completed on social insurance requirements
for medical financing plan
Expert Witness, Report on Celotex Case - Asbestos, for Montgomery, McCracken, Walker & Rhoads,
        February 1996
Expert Witness for Attorney General, State of Connecticut, 1994-1995, Hospital reimbursement in
Medicaid

DEPOSITIONS

9/27/2002        IN RE: ASBESTOS - TRIAL GROUP CIVIL ACTION NO. 01-C-9004
4/1/2003         In RE: All Madison County Asbestos Litigation
1/23/2004        Kelly Moore Paint Co. vs. Dow Chemical Company, et al.
11/8/2005        In Re New York City Asbestos Litigation: Francis Demers


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Consultant, Astra Zeneca, 2003
Consultant, Merck, 1996
Consultant, Peat Marwick, 1994-1995
Consultant to the States of Kentucky, Vermont and Delaware on Health Care Reform, 1993
Consultant, Schering Plough, 1993
Witness and Consultant on Medicare, Congressional Committee on Ways and Means, 1993, 1992, 1991,
        1986, 1984
Consultant to the State of Texas Health Policy Task Force, 1992
Consultant, Select Panel for the Promotion of Child Health, Department of Health and Human Services,
1980
Consultant to the Director, Health Staff Seminar, Washington, DC, 1974
Consultant to National Institute for Mental Health, 1974
Consultant to Urban Institute, Washington, DC, 1974, 1969-70
Consultant to Rand Corporation project on National Health Insurance, 1973
Chairman, Citizen's Advisory Health Group, Metropolitan Council, Minnesota, 1972-1973
Consultant to Ford Foundation for evaluation of grant proposals, 1972
Consultant to Illinois Center for Social Policy on Welfare, 1971
Consultant to the Executive Director, President's Commission on Income Maintenance, 1968-1970
Consultant, Office of Equal Opportunity, 1968


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